Case 1:21-cv-00001-WES-PAS              Document 1-1      Filed 01/01/21      Page 1 of 69 PageID #:
                                                29




                                      UNITED STATES DISTRICT COURT
                                        DISTRICT OF RHODE ISLAND


                                           In re: John Deaton, et. al.

 JOHN DEATON,                                                   :
 JORDAN DEATON,                                                 :
 JAMES LAMONTE,                                                 :
 TYLER LAMONTE,                                                 :
 MYA LAMONTE,                                                   :
 MITCHELL MCKENNA,                                              :
 KRISTIANA WARNER,                                              :
 and all others similarly situated,                             :
                                                                :
                                                                :
                        Petitioners,                            :
                                                                :
                                                                :        Case No.:
          v.                                                    :
                                                                :
 ELAD ROISMAN AS ACTING SEC CHAIRMAIN,                          :
 U.S. SECURITIES & EXCHANGE COMMISSION                          :
                                                                :
                      Respondents.                              :



                      MEMORANDUM IN SUPPORT OF WRIT OF MANDAMUS

          1.     The U.S. Securities & Exchange Commission’s (SEC) mission statement is to

 “protect investors, promote fairness and share information about companies…to help investors

 make informed decisions and invest with confidence.”

          2.     As chairman of the SEC, it was Jay Clayton’s (Clayton) fiduciary duty to enforce

 the SEC mission statement. He failed miserably. Instead of protecting investors and sharing

 information to help investors make informed decisions, as required by the mission statement, the

 Respondent knowingly and intentionally caused multi-billion-dollar losses to innocent investors
Case 1:21-cv-00001-WES-PAS             Document 1-1          Filed 01/01/21     Page 2 of 69 PageID #:
                                               30




 who have purchased, exchanged, received and/or acquired the Digital Asset XRP, including the

 named Petitioners, and all others similarly situated.

          3.     On December 22, 2020, SEVEN years after the Digital Asset XRP was introduced

 to the public for sale, establishing itself as the third largest cryptocurrency in the world, at the

 direction of Clayton, with improper motive and the specific intent to cause irreparable harm, the

 SEC filed an enforcement action against Ripple Labs (Ripple), its CEO Brad Garlinghouse

 (Garlinghouse), and a Co-founder Chris Larsen (Larsen), alleging that “from 2013 to the

 present”, Ripple has and continues to sell unregistered securities with the Digital Asset XRP.

          4.     Considering the magnitude of a SEC enforcement action involving the Digital

 Asset XRP, Clayton was sent a letter, prior to the filing of the action, from former Chairman of

 the SEC, Joseph Grundfest warning Clayton that the mere filing of the lawsuit generally

 declaring XRP an unregistered security “would result in an unprecedented scenario of billions of

 dollars in losses resulting from an exodus of intermediary market service providers.” Chairman

 Grundfest pleaded with Clayton stating that “no pressing reason compels immediate enforcement

 action”. Afterall, XRP has been publicly traded in the United States and globally for 7-plus years

 with the SEC’s full awareness and implicit permission. The Respondent was well aware that

 XRP was being actively traded on over two-hundred exchanges globally, including United States

 exchanges such as Coinbase, Kraken, Binance US, Voyager, Crypto.com, and Uphold, amongst

 several others. Clayton was warned by Chairman Grundfest that if the SEC initiated an

 enforcement action declaring the Digital Asset XRP an unregistered illegal security, in present

 day, these Digital Asset exchanges would have no choice but to delist XRP and/or halt XRP

 trading out of fear that an enforcement action will one day be commenced against them for

                                                         2
Case 1:21-cv-00001-WES-PAS           Document 1-1          Filed 01/01/21    Page 3 of 69 PageID #:
                                             31




 selling illegal securities. Yet, Clayton was undeterred in his personal mission, contrary to the

 SEC’s mission, and, filed the enforcement action, but not limited to specific distributions of XRP

 by Ripple’s or its executives, but, Clayton, took the extraordinary and absurd step of declaring all

 XRP, in present day, including the XRP owned by the named Petitioners and all others similarly

 situated, unregistered securities. According to the SEC’s Complaint, the XRP held in thousands

 of individual accounts and or digital wallets belonging to innocent investors who have absolutely

 no connection to Ripple, or its executives, are securities. In fact, many of these innocent

 investors, including several of the named Petitioners, and others similarly situated, have never

 heard of Ripple.

         5.     Former SEC Chairman Grundfest informed Clayton that he was “aware of no

 instance in which the simple announcement of a commission’s enforcement procedure has,

 absent allegations of fraud or misrepresentation, caused multi-billion-dollar losses of innocent

 third parties.” In the SEC’s Complaint against Ripple, Garlinghouse and Larsen, there are no

 allegations of fraud or misrepresentation by Ripple, Garlinghouse or Larsen.

         6.     Prior to the SEC enforcement action, declaring XRP an unregistered security,

 Clayton had tendered his resignation as chairman of the SEC. He informed the Trump

 Administration that he was leaving well before his appointment term expired, and that his last

 day as chairman would be December 23, 2020. As discussed, infra, Bitcoin, Cryptocurrencies,

 Decentralized Finance (DeFi), and Central Bank Digital Currency (CBDCs), have exploded and

 are the most significant developments in Finance and Money since President Richard Nixon

 removed the United States off the Gold Standard in 1971. The fact that Clayton would direct an

 enforcement action to be filed; alleging that the third largest cryptocurrency in the world (XRP),

                                                       3
Case 1:21-cv-00001-WES-PAS            Document 1-1          Filed 01/01/21     Page 4 of 69 PageID #:
                                              32




 was, always has been, and continues to be an unregistered security in the United States; on the

 day before his last day as chairman of the SEC; with a new administration taking over in less

 than 30 days; knowing the economic chaos and destruction that would ensue; is puzzling as well

 as very troubling. It looks bad. It smells bad. And it is bad.

         7.     Clayton chose to file, quite possibly, the most significant SEC enforcement action

 in 76 years as he was walking out the door after allowing the Digital Asset XRP be sold for

 seven years, leaving a new administration to deal with the aftermath. A different political party is

 assuming control and it is quite possible, if not likely, that they withdraw and/or amend and limit

 the Complaint’s scope and allegations related to XRP. As will be alleged later, maybe the mere

 filing of the Complaint was the end game for Clayton.

         8.     Chairman Grundfest, in his letter to Clayton, raised this very issue. He stated,

 “creating precedent and imposing losses of this sort raises public policy concerns that would

 benefit from the views of the incoming administration.” Clayton, however, ignored these public

 policy concerns, and, in spite of a new administration coming into office within less than thirty

 days; for political and/or personal motivation and, with the specific intent to inflict as much

 damage as possible against Ripple and the Digital Asset XRP; and, possibly, the entire

 cryptocurrency industry; on his second to last day in office, while in a position of authority to do

 so, Jay Clayton filed the most significant SEC enforcement action in modern history. These

 political and/or personal, improper motives are alleged later in this Petition. But on its face, it

 challenges reason and common sense to articulate a proper motive to file an action of this

 magnitude, against the third largest cryptocurrency, after seven years of allowance, the day



                                                        4
Case 1:21-cv-00001-WES-PAS             Document 1-1        Filed 01/01/21     Page 5 of 69 PageID #:
                                               33




 before you leave office, knowing a new administration would be taking over in less than four

 weeks.

           9.    Incredibly, as recent as May of this year Ripple made a significant distribution of

 XRP AFTER informing Clayton and the SEC that they were selling XRP to money market

 service providers. The SEC and Clayton said nothing - and did nothing. However, seven months

 later, the SEC claims that the very distribution of XRP Ripple informed them of constitutes the

 distribution of illegal securities!

           10.   This appearance of improper motive was not lost on former SEC Chairman

 Grundfest. He informed Clayton that XRP, as the third largest crypto-asset, should not receive

 different treatment from the SEC than the 2nd largest crypto-asset, Ethereum (ETH), was

 receiving. Chairman Grundfest informed Clayton that “XRP and ETH should be subject to the

 same treatment given that the SEC hasn’t illustrated a ‘material distinction’ between the

 operations of ETH and XRP that is relevant to the application of federal security laws.” In fact,

 this former SEC Chairman, himself, openly questioned Clayton’s motives. Chairman Grundfest

 stated that the SEC “imposing security law obligations on XRP while leaving ETH untouched

 raises fundamental fairness questions about the exercise of commission discretion.” (emphasis

 added).

           11.   Despite the dire warnings by Chairman Grundfest and knowing very well that the

 filing of an enforcement action declaring XRP an unregistered security would cause innocent

 investors with absolutely no connection to Ripple or its executives to lose billions of dollars, the

 Respondent filed the enforcement action. Strikingly, they did not limit the claim (as they did in

 other token cases) to specific distributions of XRP directly from the Respondent. Instead, the

                                                       5
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 6 of 69 PageID #:
                                              34




 SEC declared all XRP, including the XRP owned by the Petitioners and all others similarly

 situated as securities. As expected, there was immediate and irreparable damage inflicted upon

 innocent third parties, including the Petitioners and all others similarly situated. Within forty-

 eight hours of the SEC’s declaration that all XRPs constitute illegal unregistered securities; the

 following happened:

         a.)    XRP was immediately delisted from 54 exchanges, while other exchanges halted

 the product entirely;

         b.)    Bitstamp, on December 25, 2020, informed the public that XRP trading and

 deposits will be halted to all US customers on January 8th, 2021;

         c.)    Simplex stated it began blocking XRP transactions as a result of the SEC lawsuit;

         d.)    Bitwise, a Cryptocurrency Index Fund, liquidated all its XRP holdings in its

 publicly traded fund within hours of the SEC enforcement action;

         e.)    Bitrue no longer offers XRP purchases using credit cards for users in the U.S.;

         f.)    Posts were made on Twitter from XRP holders saying their life savings has lost

 80% and they may suffer total economic losses;

         g.)    Financial source companies like ITrustCapital allow IRAs to switch from Fiat into

 Crypto including XRP, and innocent investors saw their retirement savings practically wiped out;

         h.)    There are discussions on Twitter of people questioning whether they should just

 commit suicide because of the financial damage inflicted by XRP’s loss of value;

         i.)    Coinbase has deciding to suspend all XRP trading effective January 19, 2021;

         j.)    B2C2 says it will stop XRP trading;

         k.)    Crypto.com has stated it will stop trading XRP effective January 19, 2021;

                                                       6
Case 1:21-cv-00001-WES-PAS            Document 1-1          Filed 01/01/21    Page 7 of 69 PageID #:
                                              35




         l.)    There is no question that all exchanged doing business in the United States is

 going to follow suit and not run the risk of being charged with selling illegal securities; and,

         m.)    XRP’s value has been cut by 75%, at the time of this Petition and is likely to fall

 further, costing billions of dollars in losses for innocent investors that have absolutely no

 connection to Ripple or its executives, including significant economic losses incurred by the

 named Petitioners and all others similarly situated.

         12.    Exactly what Chairman Grundfest warned Clayton would happen from the mere

 filing of the enforcement action declaring XRP a security – did happen. Innocent investors,

 including the named Petitioners and all others similarly situated, lost multi-millions, if not,

 billions in USD.

         13.    It is quite puzzling to understand why Clayton would rush an enforcement action

 of this magnitude as he is walking out the SEC’s door. Its puzzling because Clayton and the SEC

 have known about the Company Ripple and its Executives for years. This is not a case where the

 SEC recently learned a company was selling illegal securities and taking advantage of investors

 and immediate action is necessary to protect those investors. As stated, XRP is the third largest

 digital currency in the world, behind Bitcoin (BTC) and Ethereum (ETH), respectively. XRP,

 although the third largest, was, in fact, the second cryptocurrency asset created after BTC. In

 approximately late 2011 or early 2012, the founders of XRP began working on the XRP Ledger

 (XRPL). See SEC Complaint p. 8. The XRPL operates a peer-to-peer database, spread across a

 network of computers, that records data respecting transactions, among other things.

         14.    According to the SEC, approximately 40% of the nodes validating transactions on

 the XRPL are operated by organizations or entities based in the United States, including Ripple

                                                        7
Case 1:21-cv-00001-WES-PAS           Document 1-1         Filed 01/01/21    Page 8 of 69 PageID #:
                                             36




 itself. Id. The Respondent are so familiar with Ripple and XRP that the SEC, itself, runs a node

 on the XRPL.

         15.    Upon completion of the XRPL in December 2012, Ripple and its executives

 created a fixed supply of 100 Billion XRP. See SEC Complaint p. 9. 80 Billion XRP was

 transferred to Ripple. 20 Billion XRP was divided amongst the founders and an agent of Ripple.

 Each cofounder received 9 Billion XRP and an agent of Ripple received 2 Billion XRP. The 20

 Billion of XRP was for compensation.

         16.    From 2013 through 2014, Ripple and Larsen distributed approximately 12.5

 Billion XRP to programmers for compensation for reporting problems in the XRPL code, and to

 anonymous developers and others to establish a trading market for XRP. See SEC Complaint p.

 11. The SEC claims that during these 12.5 Billion distributions of XRP, Ripple began to make

 public statements with respect to XRP creating expectations of profit based on Ripple’s efforts.

         17.    Starting in 2015, Ripple decided that it would seek to make XRP a “universal

 Digital Asset” for banks and other financial institutions to effect money transfers. See SEC

 Complaint p. 12.

         18.    According to the SEC Complaint, Ripple lacked funds to pay for the endeavors it

 was undertaking, and for its general corporate business expenses totaling in excess of $25

 Million for 2013 and 2014, without selling XRP. See SEC Complaint p. 13. In August 2013,

 Ripple, according to the SEC, made unregistered sales of XRP in exchange for fiat currencies or

 Digital Assets such as BTC.




                                                      8
Case 1:21-cv-00001-WES-PAS           Document 1-1         Filed 01/01/21     Page 9 of 69 PageID #:
                                             37




         19.    The SEC claims that between 2014 and 2019, Ripple sold at least 3.9 Billion XRP

 through market sales for $763 Million USD in order to fund its operations. See SEC Complaint p.

 14.

         20.    From 2013 through the end of the third quarter of 2020, Ripple sold 4.9 Billion

 XRP through internet sales for approximately $624 Million USD - also to fund Ripple’s

 operations. In total, the SEC alleges that Ripple sold XRP for a total of 1.38 Billion USD in

 market and institutional sales alone.

         21.    The SEC acknowledges that the market price for XRP has ranged from a low

 price of $0.002 per XRP in 2014, to a high price of $3.84 per XRP in early 2018, an increase of

 nearly 137,000%. During the month before the SEC’s enforcement action against Ripple alleging

 that XRP, even today, is an unregistered security, XRP’s price was generally between $0.58

 cents and $0.65 cents, reaching a high of $0.91 cents. At the time of Petitioners’ Petition against

 the SEC, XRP’s price was $0.28. Shortly after the SEC’s enforcement action against, in reality,

 XRP, XRP’s price dropped from $0.58 cents to $0.17 cents.

         22.    The SEC claims that since 2014, Ripple disbursed 4.05 Billion XRP valued at

 $500 Million through other distributions. See SEC Ripple Complaint p. 15.

         23.    The SEC alleges that Larsen, from 2015 through March 2020, sold 1.7 Billion

 XRP to public investors in the market, netting Larsen $450 Million. Ripple’s CEO,

 Garlinghouse, sold over 321 Million XRP that he received from Ripple to public investors in the

 market, generating approximately $150 Million.




                                                      9
Case 1:21-cv-00001-WES-PAS             Document 1-1         Filed 01/01/21     Page 10 of 69 PageID
                                             #: 38




         24.    The SEC classified four types of XRP distributions made by Ripple and its

 executives: Market Sales, Institutional Sales, Other XRP Distributions, and Individual

 defendants’ XRP Sales. See SEC Complaint para. 88, 89, p. 15-16.

         25.    The SEC seems to take issue, as significant, that Ripple understood that XRP

 purchasers routinely resold XRP to other investors in the United States and other countries. See

 SEC Complaint p. 15, para. 88. This issue of secondary market resales of Digital Assets was also

 publicly mentioned by Clayton on business channels such as CNBC. As discussed later, if the

 fact that a Digital Asset is publicly traded in secondary markets somehow transforms that Digital

 Asset into a security, then the SEC’s lawsuit against Ripple potentially implicates all digital

 currencies and/or Digital Assets. Quite frankly, it is an absurd position for the SEC to take.

         26.    As Chairman Grundfest claimed, filing an enforcement action declaring all XRP a

 security, seven years after the fact, calls into question the SEC’s exercise of its discretion and

 violates principles of fundamental fairness. Is this an attack on all Cryptocurrencies, only

 disguised in an enforcement action against the third largest crypto? Former Director of

 National Security John Bolton has publicly stated that he heard President Trump instruct

 Treasury Secretary Steven Mnuchin to “go after Bitcoin.” In previous enforcement actions like

 the 2017 ICO prosecutions, the SEC limited its enforcement allegations to the Company itself

 and its Executives and their distributions of the Digital Asset. Never before, has the SEC claimed

 that the Digital Asset in the wallets of individual investors, who did not purchase directly from

 the company or its executives, are securities. It appears to the Petitioners, that the Ripple/XRP

 enforcement action is not truly limited to one company and a couple of potential bad actors. The

 Respondent in this action could have, as they have done in the past, targeted specific

                                                       10
Case 1:21-cv-00001-WES-PAS             Document 1-1          Filed 01/01/21      Page 11 of 69 PageID
                                             #: 39




 distributions of XRP, especially in the early days of 2013 through 2015. Any colorable claim or

 argument that XRP constitutes an unregistered security could only be made in those very early

 days and distributions. The SEC could have targeted those early Ripple distributions and any

 individual sales by its executives without attempting absurdity by calling the XRP in the

 Petitioners’ wallets unregistered securities. As discussed later, it is an attempt at futility to argue

 that Today’s XRP is a security. It’s not just legally wrong and intellectually dishonest, but it is

 absurd to call the XRP held by thousands of innocent investors, who have absolutely no

 connection to Ripple or its executives’ securities. Not SEVEN PLUS years after the Digital

 Asset XRP has been publicly traded on more than 200 exchanges worldwide. Many XRP

 holders, including some of the named Petitioners, have never even heard of Ripple,

 Garlinghouse, or Larsen.

          27.    This enforcement action, directed by Clayton, against XRP, is much more to do

 about other things than whether XRP constitutes a security. Later, the Petitioners allege the

 potential real reasons behind Clayton’s motives.

          28.    As stated, the Digital Asset XRP and Ripple are well-known to the Respondent

 and officials in the U.S. Government. In 2015, the U.S. Government entered into a consent

 agreement over Ripple’s sale of XRP to a well-known Bitcoin and Cryptocurrency Advocate and

 investor, Roger Ver. Ripple paid a fine for this XRP distribution and agreed not to establish a

 Ripple and/or XRP Wallet.

          29.    Additionally, in 2015 the DOJ and FinCen settled a case with Ripple. The DOJ

 and FinCen classified and/or determined that XRP was a “virtual currency” and that Ripple is a

 money transmitter of XRP (emphasis added). The settlement with the U.S. Government required

                                                        11
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21    Page 12 of 69 PageID
                                            #: 40




 Ripple’s XRP transactions to comply with laws that do not apply to securities’ transactions.

 However, more than 5 years later, despite one arm of the U.S. Government declaring XRP

 virtual currency, Clayton and the SEC, through its enforcement action, allege all XRP as

 securities. Again, it is not limited to the XRP sold to Roger Ver or others directly from Ripple,

 but ALL XRP.

         30.    The issue of XRP and its classification as a virtual currency, and/or commodity,

 and/or security is an issue Clayton, himself, has been asked, repeatedly and publicly, on several

 occasions. Clayton, at least two years prior to the December 22, 2020 enforcement action

 declaring XRP a security, was specifically asked about XRP publicly. On one occasion, Clayton

 was being interviewed on CNBC and was asked directly if the SEC was going to officially

 declare XRP a non-security similarly to the SEC declaring the two larger crypto assets, BTC and

 ETH, non-securities. Clayton only said, “if it’s a security, we will regulate it.” The CNBC

 anchor pushed back at this non-answer and sated to Clayton that there seems to be confusion

 regarding XRP because the SEC has not officially declared it as a non-security like it has BTC

 and ETH. Clayton smugly responded, “I hope I just cleared up any confusion by stating if it’s a

 security we will regulate it.” It should be noted that Clayton was asked about XRP by CNBC

 during the very time period the SEC now claims Ripple and Garlinghouse were actively and

 continuously, selling illegal securities (in the form of XRP). Yet, Clayton waited for several

 more years before filing the enforcement action declaring all XRP as securities.

         31.    Clayton was asked directly about XRP approximately one year after CNBC’s

 interview, while attending a Fintech 2019 Event. During the time of this event the SEC claim

 Ripple and Garlinghouse were actively and continuously, selling illegal securities in the form of

                                                      12
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 13 of 69 PageID
                                            #: 41




 XRP. Clayton and Garlinghouse both spoke at the Institute for Financial Markets where

 Clayton, yet again, was specifically asked about XRP. Amazingly, Garlinghouse also attended

 the same event and spoke immediately after Clayton. In fact, Clayton was asked by a person in

 the audience considering the fact that Garlinghouse would provide remarks right after Clayton,

 could Clayton inform the public if and when XRP would be classified by the SEC as non-

 securities like it has for BTC and ETH. Clayton’s response was that although he “really

 appreciated the XRP issue” (emphasis added), he could not comment on XRP or any other

 product. Clayton stated that the SEC could not comment on any specific products although

 the SEC had already commented on specific products in BTC and ETH. Clayton’s statement

 that the SEC can’t comment on any specific product or company not only doesn’t make sense

 considering that the SEC did comment on BTC and ETH, but it also runs afoul of the SEC’s

 Mission Statement. The SEC’s mission statement states the SEC will share information about

 companies to help investors make informed decisions. XRP has been traded on over two hundred

 exchanges worldwide for the past seven years with a daily volume between $10-26 billion.

 Clayton knows there may be investor confusion yet remains quiet until the day before he leaves

 office, to all of a sudden, seven years later, declare XRP an unregistered security.

         32.    If the SEC refuses to make comments on companies and/or specific products as

 Clayton suggests, then that leaves the industry and investors to wildly speculate as to what the

 SEC may or may not do. Today, or, SEVEN years from now! Petitioners strongly believe that

 assuming XRP was a non-security, like BTC and ETH, after publicly trading by their side for

 seven years, was reasonable. The SEC had a fiduciary duty to inform, otherwise. Absent the

 SEC sharing information, as the Mission Statement requires, the only way the public will know

                                                      13
Case 1:21-cv-00001-WES-PAS             Document 1-1         Filed 01/01/21     Page 14 of 69 PageID
                                             #: 42




 with regulatory clarity is when the SEC files enforcement actions. Is that what the SEC is

 engaging in as it relates to Crypto Currency and the action against XRP?? This approach is

 called “regulation by enforcement.” Maybe Clayton and the SEC is generally confused as to

 what a security is in the context of Blockchain technology and Digital Assets. Maybe the SEC

 doesn’t know or understand how Digital Currencies fit in the regulatory scheme, and has been

 for years, himself, unsure about whether XRP constitutes a security. Maybe, Clayton and the

 SEC have used the XRP action as a way to engage in “regulation by enforcement.”

          33.     Interestingly, the new SEC Chairman Elad Roisman has publicly been critical of

 this regulation by enforcement practice. Chairman Roisman has publicly cautioned against

 regulation by enforcement. He has stated that he “always analyzes on a case by case basis with

 investor welfare as his North Star.” (emphasis added). He stated, “when considering market

 participants acting in good faith to comply with the rules, enforcement should be the last resort,

 not a first resort.”

          34.     In the SEC complaint, it references Tolling Agreements between the SEC and

 Ripple and Ripple’s executives. These agreements toll the statute of limitations from conduct

 and/or sales of XRP from as early as 2014. In other words, the SEC and Clayton have been

 aware of the “XRP lack of regulatory clarity issue” for many years, yet they allowed thousands

 of innocent investors, including the Petitioners, and all others similarly situated, with no

 absolutely no connection to Ripple or its two executives, continue to purchase and/or acquire

 XRP, in thousands of accounts throughout the United States.

          35.     Clayton has on more than one occasion, spoken at the same meetings and

 conferences that Ripple’s CEO, Garlington, has spoken. These conferences involved Digital

                                                       14
Case 1:21-cv-00001-WES-PAS            Document 1-1           Filed 01/01/21   Page 15 of 69 PageID
                                            #: 43




 Assets. Garlinghouse would promote the utility of XRP at those very meetings attended by

 Clayton. As stated, Garlinghouse spoke immediately following Clayton. Almost every time

 Clayton attended and/or spoke at these Financial conferences, he was asked about XRP and

 regulatory clarity and when the SEC would provide a declaration of XRP being a non-security

 just like BTC and ETH. Despite his obligation to share valuable information to the public so

 investors can make informed decisions, he declined. Clayton’s repeat response to the XRP

 question was always the same: “If it is a security, we will regulate it.”

         36.     Clayton’s familiarity with Ripple, Garlinghouse and XRP was not limited to a

 few public gatherings. It included private meetings. In fact, one meeting between Garlinghouse

 and Clayton was at the white house with President Trump’s senior officials. In short, Clayton’s

 knowledge about the company Ripple, its executives, and the Digital Asset XRP is extensive. If

 he truly, honestly, and legally believed XRP was a security being exchanged 24/7 daily in the

 United States with thousands of innocent investors, including the Petitioners, and others similarly

 situated, he had a fiduciary duty to provide insight and information to the U.S. public. He had a

 duty to make a public statement that XRP could be deemed an unregistered security and for

 buyers to beware. He was asked repeatedly by professional financial journalists and others, and

 he refused to comment. Instead, he drops a bomb on the crypto community on his second to last

 day in office. He did so knowing a new opposing-party administration was only weeks away

 from assuming control. He was aware that this new administration may disagree with his

 enforcement action declaring that all XRP, past and present, are unregistered securities, costing

 billions in losses for innocent investors with no connection to Ripple or its executives. Clearly,

 Jay Clayton did not care about protecting investors.

                                                        15
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 16 of 69 PageID
                                            #: 44




          37.    Although the SEC and/or Clayton did not affirmatively declare XRP a non-

 security similar to ETH and BTC, its actions implied that XRP was in fact not a security. During

 the time period the SEC now claims XRP was an unregistered security, the SEC granted Ripple

 permission to take a minority stake in the publicly traded company MoneyGram International

 (MGI). Ripple invested $50 million purchasing approximately 9% of MGI. See SEC Complaint,

 p.58 fn.4. The SEC approved this purchase of MoneyGram with the full knowledge that Ripple

 would encourage MGI to use the Digital Asset XRP as a cross-border utility token related to

 remittances. Hence, The SEC allowed the use of this so-called illegal security to be utilized not

 just by Ripple, but by MoneyGram, as well. The SEC admits to this knowledge when its states

 that Ripple paid “Money Transmitter significant financial compensation – often paid in XRP.”

 See SEC Complaint, p. 58 (emphasis added).

          38.   The SEC was fully aware that MGI would not HODL XRP. The SEC knew that

 MGI would sell XRP in the Secondary Markets to investors such as the named Petitioners and all

 others similarly situated. Hence, it appears, the SEC, believing XRP to be an unregistered

 security, provided consent for XRP to be purchased and/or utilized by MGI and then sold in

 secondary markets to innocent investors with no connection to Ripple or even MGI (purchasers

 of XRP on exchanges do not know the identity of the seller). If the SEC truly believed XRP to

 be an illegal security, why would it allow this transaction to take place? The answer is

 because the SEC knows very well that Today’s XRP is not a security. The XRP in the accounts

 and/or digital wallets of the named Petitioners and others similarly situated, are, in no way,

 securities.



                                                      16
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 17 of 69 PageID
                                            #: 45




          39.   Exchanges, however, faced with the SEC’s claim that today’s XRP is a security,

 must take action and delist, halt and/or suspend all activity related to XRP in the United States.

 As stated, BITWISE has liquidated all of its XRP. Grayscale Investments manages an XRP Trust

 for accredited investors. It may liquidate as well. Coinbase, arguably, the most significant

 exchange in the United States (if not the world) has indicated it will suspend all XRP activity on

 January 19, 2021. As stated earlier, many others have also delisted or suspended XRP trading. In

 short, the mere allegation by the SEC that XRP is a security, will likely render XRP untradeable

 in the United States and its value would, in effect, for U.S. customers become zero, wiping out

 many innocent investors with absolutely no connection to Ripple or its executives.

          40.    The Petitioners will demonstrate however, that the XRP being traded today in

 2020 is in no way even close to be a security. Clayton knows that. Otherwise, he would have

 filed the enforcement action years ago. He didn’t. He knows XRP will not be classified a security

 and that’s why he didn’t pursue the case during his tenure. Instead, he files the case as he is

 leaving the SEC, with a new chairman and administration coming in less than four weeks.

          41.    It is clear, even to the blind, that Clayton’s motive was to damage Ripple, its

 executives and XRP as Clayton was leaving and, in a position to do so. His intention to harm

 may not only be limited to XRP, but to the cryptocurrency industry itself. The complaint filed

 against Ripple and its executives, if successful, could be applied to every cryptocurrency, with

 possibly the exception of Bitcoin, despite, like XRP, having been openly traded for seven-plus

 years.

          42.    Clayton was well aware that the mere filing of the enforcement action, not

 limited to specific distributions of XRP directly from Ripple, but alleging that all XRP

                                                      17
Case 1:21-cv-00001-WES-PAS            Document 1-1        Filed 01/01/21     Page 18 of 69 PageID
                                            #: 46




 constitutes securities, could prove to be a kill shot against Ripple and XRP. Common sense,

 itself, informs one of that matter. But, here, Clayton received a letter from a former SEC

 Chairman pleading with him not to cause the harm he would cause to innocent investors with no

 connection to Ripple. Chairman Grundsfest even stated that filing an action causing multi-billion

 dollars in losses to investors when no exigency exists to do so, would cause one to question

 Clayton’s discretion. XRP traded for seven years, including several years while Jay Clayton was

 SEC chairman. Waiting for feedback from the new chairman and new administration would

 cause no harm. But, filing this action against XRP would cause “unprecedented damage.”

         The defense cannot persuasively claim that the Petitioners engaged in purchasing and

 owning a risk-based asset and, therefore, took a knowing risk and simply made a bad investment.

 The issue isn’t whether XRP is a good technology and/or investment. The issue is the SEC’s action

 and/or inaction, and what investors, such as the named Petitioners, can rely on.

         43.    The Petitioners and all others similarly situated reasonably relied not only on the

 SEC’s inaction against Ripple and XRP for seven years, but also relied on the actions taken by

 the SEC and other US agencies that constituted the approval of Ripple and the Digital Asset

 XRP.

         A)     Although the SEC never declared XRP a non-security like it did with ETH and

 BTC, other U.S. agencies, world Governments and others did declare XRP a non-security as

 XRP’s utilization as Currency grows.

         44.    Currencies are excluded from statutory definition of a security.

         45.    XRP has been trading in Secondary Markets since 2013. In 2015, the DOJ and

 FinCen settled a case with Ripple and determined XRP was virtual currency and that Ripple is a

                                                     18
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 19 of 69 PageID
                                            #: 47




 money transmitter of XRP. The settlement required Ripple’s XRP transaction to comply with

 laws that do not apply to security transactions. This is an agency of the federal Government

 classifying XRP as virtual currency. In 2015 the US Government entered into a consent

 agreement related to the sale of XRP to Roger Ver. These known Government interactions with

 Ripple involving XRP with no security law violations being publicly asserted by the SEC implies

 that if XRP were a security, the Government would have said so back then

         46.     Currency is generally defined as a medium of exchange, unit of account and/or a

 store of value. In U.S. v. Harmon, C.J. Beryl A. Howell wrote that money or currency commonly

 means a medium of exchange, method of payment or a store of value. He found that BTC is

 these things. Clayton has publicly agreed that BTC is a store of value, and, thus, not a security.

 Later, the Petitioners will demonstrate that XRP is also being used as a store of value considering

 the significant depreciation in value of the USD. Furthermore, XRP holders can stake their XRP

 and generate far greater yield than maintaining their wealth in a currency being debased by the

 printing of trillions of USD and a Federal Reserve targeting north of 2% inflation. XRP holders

 can use their XRP as collateral for fiat and/or cryptocurrency loans. Clayton’s analysis that BTC

 is not security because it acts as a store of value, equally applies to XRP, ETH, and other

 Cryptocurrencies. This use case alone makes XRP a non-security.

         47.     XRP is the third largest virtual currency with billions of dollars trading every

 day. XRP trades on exchanges in line with the two largest cryptocurrencies, BTC and ETH.

         48.     The SEC has deemed BTC and ETH as non-securities.

         49.     XRP, according to Ripple, is used as a currency by as many as 150 third-party

 consumers and commercial applications. This use case alone makes XRP a non-security.

                                                      19
Case 1:21-cv-00001-WES-PAS              Document 1-1         Filed 01/01/21      Page 20 of 69 PageID
                                              #: 48




          50.    Former CFTC, Chris Giancarlo (Crypto Dad), has stated publicly, in writing, that

 XRP is not a security.

          51.    Congressman Tim Emmer has publicly declared that XRP “is clearly not a

 security.”

          52.    Brian Brooks, Acting Director of the Comptroller of Currency (OCC), was

 previously General Counsel of Coinbase, which has, for years, sold XRP.

          53.    From 2015 to present, XRP has been traded in open markets on more than 200

 exchanges worldwide, including several significant in the U.S. like Coinbase, Binance, Kraken,

 Voyager, Crypto.com, Uphold, etc.

          54.    XRP is not a security according to Japan’s Financial Services Agency.

          55.    SBI, a Japanese corporation, has an E sports team and pays its players in the

 Digital Asset XRP. In this instance, XRP is utilized as payroll currency. This use case alone

 makes XRP a non-security.

          56.    The UK’s Financial Conduct Authority (FCA), unlike the SEC, provides clear

 guidance to investors and businesses regarding crypto-assets and digital currencies. The FCA has

 stated that crypto fits into several brackets: a) a security token; b) a utility token; and c) an

 exchange token. A security token is like a stock certificate or debt instrument. It provides title

 rights to a company. A utility token is designed for a specific purpose. An exchange token is

 traded on platforms for value in something. The FCA declared XRP to be a “hybrid token”,

 constituting both a utility and exchange token. It was not determined to be a security token.

          57.    The SEC, in 2017, brought ICO (Initial Coin Offering) cases against several

 companies, alleging that the digital token that was being offered constituted an unregistered

                                                        20
Case 1:21-cv-00001-WES-PAS             Document 1-1        Filed 01/01/21    Page 21 of 69 PageID
                                             #: 49




 security. Two of these cases involved the EOS and KIN Tokens. These companies raised capital

 by offering ICOs. These tokens were promised by the promoter who received money for that

 promise. As will be discussed later, this ICO scenario fits squarely in the 4 factor Howey test of

 what constitutes a security. Because these ICOs constituted securities, the SEC shut it down.

 Ripple and XRP, however, were left alone by the SEC during these high profile ICO

 prosecutions. In fact, Garlinghouse spoke out against these Token assets. In 2017, XRP had

 been in openly traded for 4 years. The SEC leaving XRP alone during this period of aggressive

 prosecution of ICOs implicitly gave further confidence to investors that the third largest

 cryptocurrency was safe from being called a security, similar to BTC and ETH. XRP may prove

 to be a terrible investment when compared to BTC or even ETH. But the Market gets to decide

 the winners and the losers in the digital currency revolution, NOT the Government.

         58.       Japan, Singapore, the U.K., Switzerland and the UAE have all declared XRP to be

 a non-security.

         59.       Unlike XRP, actual stock in Ripple, the company, can be purchased by accredited

 investors through business entities like Linqto. When you purchase stock in Ripple, you do not

 receive XRP, but, traditional stock certificates in the company.

         60.       The SEC runs a node on the XRPL, along with thousands of other individuals,

 companies and/or entities and even if Ripple ceased to operate as a company, the XRPL continues

 along with XRP.

         61.       The SEC has made public statements that BTC and ETH are not securities. Much

 like BTC and ETH, XRP is a digital currency supported by a distribution ledger that uses

 cryptography to store and transfer assets.

                                                      21
Case 1:21-cv-00001-WES-PAS             Document 1-1         Filed 01/01/21     Page 22 of 69 PageID
                                             #: 50




         62.     Former CTFC Chairman Chris Giancarlo authored an op-ed stating that XRP is

 not a security and is most similar to ETH, which is a commodity. Giancarlo is in charge of the

 Digital Dollar for the U.S. Government. Thus, his words, findings and conclusions carry

 significant weight with investors, such as the Petitioners and all others similarly situated.

         63.     Since at least 2015, Ripple has focused XRP to be used by banks to replace

 SWIFT in the international payments and remittances arena. Many significant authorities,

 including the European Central Bank and the Russian Central Bank, amongst others, have stated

 that digital currencies will eventually replace SWIFT. XRP has been used to make international

 payments and transfers without intermediaries. This use case alone makes XRP a non-security.

         64.     DBS, Singapore’s largest bank and the sixth largest bank in the world, declares

 XRP is better and faster than SWIFT. This use case alone makes XRP a non-security.

         65.     DBS launches a digital exchange between four flat currencies (SGD, HKP, JPY

 & USD) and the four most established cryptocurrencies (BTC, ETH, XRP and BCH). This use

 case alone makes XRP a non-security.

         66.     BitPay launches a massive crypto payment for businesses and 225 countries can

 now pay in XRP, ETH and BTC. This use case alone makes XRP a non-security.

         67.    Deel, partnered with Coinbase (which sells XRP), launches a crypto payroll tool

 that allows international workers to be paid in BTC, ETH and XRP, allowing near instantaneous

 withdrawals. In other words, International Workers withdraw their paychecks in XRP - XRP is

 used as a substitute for fiat currency. This use case alone makes XRP a non-security.

         68.     Belarus’ largest bank launches a crypto exchange service to include XRP.



                                                       22
Case 1:21-cv-00001-WES-PAS            Document 1-1        Filed 01/01/21     Page 23 of 69 PageID
                                            #: 51




         69.     The OCC, in April 2020, issued a notice to banks in the U.S. that they could

 custody crypto assets. Clayton issues a letter that says the SEC agrees with the OCC that U.S.

 banks can now custody cryptocurrency. XRP is the third largest crypto asset. Clayton did not

 state that he agreed with the OCC with the exception that banks CAN'T custody XRP because

 they are unregistered securities. He never provided a statement that XRP or other Crypto could

 later be determined a security. Instead it appeared that the SEC was in full agreement that

 Banks could custody Crypto. He certainly didn’t say but be aware that eight months later, on

 my way out the door, I intend to declare the third largest crypto asset in the world to be an

 unregistered security. No mention of XRP whatsoever. It is one-hundred percent reasonable to

 assume that if the SEC agrees that US banks can custody crypto assets, it would include the third

 largest crypto-asset.

         70.     Clayton and the SEC, by this letter of agreement with the OCC, provided

 investors, including the named Petitioners, and all others similarly situated, confidence that XRP

 would not be classified a security or the SEC would have excluded certain assets or simply

 limited the custody to BTC and ETH.

         71.     OCC Brian Brooks provided a path for Crypto Companies to become U.S. Banks

 and publicly stated that there was significant interest in Crypto firms seeking a Banking Trust

 Charter. Not only did the U.S. Government declare that U.S. banks could custody crypto; a

 crypto exchange, Kraken, was granted a bank charter by the State of Wyoming. Kraken is the

 first crypto exchange to be granted status as a U.S. bank. Kraken sells XRP and has for years. All

 of this was known to Clayton. Not only did Clayton and the SEC agree that U.S. banks could

 custody crypto, without excluding the third largest crypto, but a crypto exchange that holds and

                                                     23
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21      Page 24 of 69 PageID
                                            #: 52




 sells XRP was deemed a U.S. bank. Based on the actions of the OCC and SEC, it was completely

 reasonable for the Petitioners and all others to gain more confidence that investing in the largest

 cryptocurrencies on the market was a viable way to speculate and possibly build and secure

 wealth.

           72.   As stated, XRP was being exchanged publicly on over two-hundred exchanges

 worldwide. In the U.S., not only was the newly deemed bank, Kraken, holding XRP, but

 Coinbase, Grayscale, Bitwise, Binance, Crypto.com, Voyager and Uphold were as well, just to

 name a few.

           73.   If the Respondent was actively investigating Ripple and XRP, then they had a

 duty to protect U.S. investors and share that information, consistent with its mission statement.

 Every investor, including the Petitioners and others similarly situated, assume risks when

 investing in any investment. The actions of Clayton can only be described as schizophrenic or

 politically and/or personally motivated to cause great harm to Ripple, XRP and/or to the

 cryptocurrency industry, with complete and utter disregard for the thousands of investors that

 Clayton swore to protect.

           74.   CBOE Global Markets announced plans to launch Crypto Indexes, similar to

 Bitwise, in the Second Quarter of 2021. XRP, as the third largest crypto asset, would be part of

 the index just as it was a part of the Bitwise Crypto Index Fund.

           75.   The Respondent was well aware that financial services companies, such as

 ITrustCapital, allowed U.S. residents to transfer their traditional Fiat IRA into crypto assets,

 including XRP. Some investors placed their entire life savings into XRP. Whether such an

 investment decision was wise or not does not negate the SEC and Clayton’s complicity in

                                                      24
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 25 of 69 PageID
                                            #: 53




 allowing the American public to rely on its guarantee not to intentionally cause great economic

 harm to innocent (even if naive) investors who have no connection to Ripple or its executives.

 The Respondent had a duty to disclose to the public their belief that XRP has always been and

 continues to be an unregistered security. The Petitioners will prove, however, that the SEC and

 Clayton actually do not believe that Today’s XRP is a security and that is why an enforcement

 action was never filed until Clayton’s second to last day.

         76.     During the time period that Respondent claim XRP was an unregistered security,

 the Respondent was well aware that a third-party entity, Flare Networks, unrelated to Ripple,

 announced, promoted, and then executed a Digital Asset Token Airdrop for all XRP holders.

 Flare Networks informed the public, including the Respondent, that a Digital Asset called the

 ‘Spark Token’ would be Airdropped into all accounts that held XRP, assuming the exchange that

 each XRP holder used participated in the Airdrop. Flare Networks informed the public, including

 the Respondent, that, at a minimum, each investor holding XRP would receive, by Airdrop, a

 Spark Token for every XRP. Flare informed all parties that a snapshot would be taken of all XRP

 accounts/wallets on December 11, 2020 and December 12, 2020. All the major exchanges,

 including Coinbase, Kraken, Uphold, Binance, etc. participated in the Flare snapshot. Based on

 this promotion, new XRP accounts hit a one year high. At least 24,408 accounts/wallets held

 XRP at or around the snapshot. The SEC allowed this snapshot to take place and each XRP

 holder, including the Petitioners and all others similarly situated, are scheduled to receive Spark

 Tokens that equal the number of XRP tokens held on the snapshot day. If XRP is an unregistered

 security, what classification does the Spark Token fall under? If the SEC and Clayton actually

 believed XRP were illegal securities, why would they allow an Airdrop based on those illegal

                                                      25
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 26 of 69 PageID
                                            #: 54




 securities? They would not have, if they honestly believed all XRPs are securities. The Flare

 Spark Token Airdrop was another example of the U.S. Government and the SEC implicitly

 agreeing that the XRP, in the Petitioners’ accounts and in the accounts of all others similarly

 situated, including on all the U.S. exchanges, are not securities.

         77.    The Flare Networks CEO stated “over the next Quarter, we will set out plans to

 trustlessly integrate XRP with Flare. This will enable smart contracts with XRP, on a next

 generation blockchain, with settlement on the XRPL.” Flare’s CEO explained that this

 integration with XRP and the XRPL, “is called a utility fork and it’s the first of its kind.” This

 use case alone makes XRP a non-security.

         78.     Ripple partner Xago announces they are utilizing XRP to move money across

 Africa. This use case alone makes XRP a non-security.

         79.    London-Based Think Tank says XRP can minimize intermediaries and boost the

 speed of international payments. This use case alone makes XRP a non-security.

         80.     Defendant Clayton, himself, stated publicly that it’s time to use technology to

 address the inefficiencies in payments systems.

         81.     The Office of Monetary & Financial Institutions Forum (OMFIF) produced a

 report on blockchain technology and the advantaged of XRP as an alternative in payments. This

 use case alone makes XRP a non-security.

         82.     Bitex, an exchange in the UAE that offers XRP, is expanding to India with a wallet

 trading platform utilizing BTC, ETH, XRP, LTC and BCH.

         83.     Japanese financial giant SBI sponsors and/or owns an Esports team. SBI

 announces it is paying its players not in the Japanese Yen, but in XRP. Like Deel, mentioned

                                                      26
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 27 of 69 PageID
                                            #: 55




 earlier, XRP is being used as a substitute to fiat currency. Many U.S. residents watch these

 tournaments, with 1-6 million viewers watching every tournament video. Another example of

 U.S. investors witnessing the use of XRP as a payment currency, not a security. This use of

 XRP alone makes it a non-security.

         84.    In fact, at a Linqto Global Investors Conference on December 8th-9th, SBI/Ripple

 Asia’s CEO, Adam Traidman, says that the CEO of SBI Holdings is “XRP’s biggest fan and

 wants the next World’s Fair in Japan to only accept XRP as a currency payment.” This use case

 alone makes XRP a non-security.

         85.    Grayscale’s XRP Trust doubled during November and December of 2020. The

 manager of Grayscale stated that one-third of its buyers own more than just BTC (GBTC).

 During the time period the Respondent claim that XRP is a security, investors were actively

 buying XRP with the SEC and Jay Clayton’s full knowledge. If they truly believed XRP, in its

 current state, is a security, then they would have not allowed such significant retail and

 institutional purchasing of XRP. They allowed it to happen because they know XRP is not a

 security. Certainly, the XRP of today is not. If it was, Clayton would have filed the enforcement

 action long before his second to last day as chairman.

         86.    SBI announces it plans to test XRP in the $6.6 trillion foreign exchange (Fx)

 market. The total Fx market, worldwide, is between $1 to $7 quadrillion. XRP being utilized in

 any percentage of that market provides great opportunities, and reason, for U.S. investors,

 including the Petitioners and all others similarly situated, to invest in the Digital Asset XRP.

 This use case alone makes XRP a non-security.



                                                      27
Case 1:21-cv-00001-WES-PAS           Document 1-1         Filed 01/01/21    Page 28 of 69 PageID
                                           #: 56




         87.    SBI also rolls out a BTC lending service and announces plans to add support for

 ETH and XRP. SBI also wires 200 million XRP from its lending service, suggesting the platform

 is up and running. This lending service provides liquidity to individuals or small and medium

 businesses. This use case alone makes XRP a non-security.

         88.    Arrington XRP, a U.S. business, publicly announced it moved $50 million

 utilizing XRP into their company’s treasury reserves, and it took three seconds to accomplish at a

 price of thirty cents. This use case alone makes XRP a non-security.

         89.    Jack Ma, China’s richest person and the founder of Alibaba, publicly states that

 cryptocurrency is the future and could help create a new financial world order. This use case

 alone makes XRP and all of Crypto a non-security.

         90.    Decentralized Finance (DeFi) has probably been the hottest topic of finance in the

 last three years and Flare Finance announced that it was opening the DeFi Market to XRP. This

 use case alone makes XRP a non-security.

         91.    In Asia, cryptocurrency and Digital Assets, including XRP, are already a part of

 the mainstream financial markets. This use case alone makes XRP a non-security.

         92.    The World Economic Forum (WEF) names XRP as the most relevant

 cryptocurrency for CBDCs by banks. This use case alone makes XRP a non-security.

         93.    Sophisticated and experienced, billionaire investor Tim Draper said publicly that

 he is a believer in XRP and that XRP’s use case is expanding.

         94.    Although XRP is the third largest crypto asset it often trades second only to BTC

 as far as trading volumes on the different exchanges. For example, at a given time-period on the

 Kraken exchange, Bitcoin traded at a $480 million volume; XRP traded at a $400 million

                                                     28
Case 1:21-cv-00001-WES-PAS             Document 1-1          Filed 01/01/21      Page 29 of 69 PageID
                                             #: 57




 volume; and ETH traded at a $198 million volume. On Coinbase alone, XRP has traded in

 volume in excess of $1 billion within a twenty-four-hour time period.

          95.    Ripple invested in MoneyTap, a subsidiary of SBI, and MoneyTap incorporates

 XRP. It is announced that SBI Asia will also use XRP. This use case alone makes XRP a non-

 security.

          96.    Visa, partnering with Coinbase (which lists XRP) and Fold, launched a crypto-

 debit card in the U.S. for retail spending to Visa’s 61 Million merchants. This use case alone

 makes XRP a non-security.

          97.    Ripple claims that 20% of transactions on its global network of financial

 institutions now use XRP and that ODL facilitates cross-border payments using XRP as a Bridge

 Currency. This use case alone makes XRP a non-security.

          98.    IMF Publications listed two competing digital tokens that can be used as a Bridge

 Currency in international settlements and remittances. Those two tokens are XRP and the JPM

 Coin. This use case alone makes XRP a non-security.

          99.    Fidelity Investments Reports that 45% of investor funds own crypto in the United

 States. XRP, being the third largest, is included in many of these accounts. In fact, many

 financial advisors tell investors to diversify their portfolio, to include crypto, but to also diversify

 their crypto holdings. This is consistent with market-cap traded Index Funds like Bitwise whose

 fund was 5.94% comprised of XRP at one point before the SEC’s enforcement action declaring

 XRP a security forced them to liquidate all XRP holdings.

          100. Charles Schwab in December 2019 issued a report that stated that GBTC (the

 Grayscale BTC Trust) was one of the top five equities held by millennials. For several years it

                                                        29
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 30 of 69 PageID
                                            #: 58




 has been foreseeable that the interest in crypto assets would grow, including the interest in the

 third largest crypto asset. Yet, The SEC and Clayton sat back and allowed the public to grow

 more and more confident that Crypto Assets, including XRP, would not be deemed securities.

         101. It is announced that in Zug, Switzerland, a person can make tax payments to the

 Government in BTC and ETH. It is expected that other crypto tax payments will also be allowed.

 Paying your taxes in Cryptocurrency, alone, is a use case that makes those

 cryptocurrencies non-securities.

         102. On November 30, 2020, twenty-three days before Clayton directs the filing of the

 enforcement action against XRP and the crypto industry, Grayscale states that the inflows into its

 different crypto trusts, including XRP, is more than six times the inflow last year and that many

 investors are not only buying BTC, but other cryptos as well. Grayscale states that the nature and

 amount of investments that are flowing into Grayscale indicates that investments into crypto

 assets has just begun. Twenty-five days later, Clayton initiates the action against XRP.

         103. In a televised interview with OCC Brian Brooks, he states that it is imperative that

 the U.S. Government does not let the U.K., Singapore or China leapfrog the United States in the

 digital finance world like what happened with 5G and China. Brian Brooks is critical of the

 Federal Reserve because it stated that it hoped to have developed a CBDC by 2024, while the

 U.K. was already using real-time payments. He described the situation as “absurd”. Brian Brooks

 then stated that the technology for real-time payments and creation of a CBDCs exists today and

 described XRP and the XRPL. Brian Brooks emphasized the need for the U.S. Government to

 work with these private companies (Ripple) that can move billions of dollars per day faster and



                                                      30
Case 1:21-cv-00001-WES-PAS             Document 1-1        Filed 01/01/21      Page 31 of 69 PageID
                                             #: 59




 cheaper. He emphasized the need to work with technology like XRP or the U.S. would be forced

 using antiquated and outdated systems like SWIFT.

         104. After OCC allowed banks to custody crypto-assets, Brian Brooks stated that

 almost immediately, twelve banks including PNC and USB have expressed interest in providing

 crypto-services.

         105. Novatti partners with Ripple Labs to enable real-time remittances between

 Australia and Asia. This use case alone makes XRP a non-security.

         106. The Head of Asset Management of Sygnum, a Swiss bank in Singapore, calls out

 to the public to increase exposure to “the tokens of the future” and lists those tokens to be “BTC,

 ETH, and XRP”. Sygnum classifies BTC as the future asset for store of value and wealth. It

 classified ETH as an infrastructure play of the future. It classified XRP as not a security, but as

 technology of the future regarding payments (exactly what the OCC Brian Brooks had publicly

 discussed).

         107. American Express announces it has backed the Crypto Broker Falcon X.

 American Express announces interest into peer-to-peer payments with Venmo and PayPal.

 American Express is a Ripple partner.

         108. As stated, the SEC approved Ripple purchasing a minority stake in MGI ($50

 Million), knowing Ripple would promote the use of XRP as a Bridge Currency. The MGI CEO

 was interviewed on CNBC about the Ripple connection. He stated that MGI has been “partnering

 with Ripple now for eighteen months and the idea behind that was for us to really push

 innovation and see how we can help in pioneering of the expansion of global utilization of

 blockchain technology.” OCC Brian Brooks stated on CNBC, thereafter, that blockchain

                                                      31
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 32 of 69 PageID
                                            #: 60




 technology is crypto assets. He stated that “there is no blockchain technology without crypto.”

 The SEC, in its Complaint, allege that MGI only used XRP because Ripple subsidized the use.

 The Petitioners are also aware that MGI has further distanced itself from Ripple since the filing

 of the SEC’s Complaint. First, the SEC permitted Ripple to purchase a minority stake in MGI

 knowing XRP would be promoted, used and sold to innocent investors, with no connection to

 Ripple. Second, despite what MGI states now, its CEO was publicly making statements positive

 towards Ripple and its blockchain technology, and, thus, XRP. IF what the SEC alleges is

 accurate, then how does it allow companies like MGI to make these misleading statements to

 innocent investors? Some of the named Petitioners, and others similarly situated, purchased XRP

 based on this perceived use case with MGI. Yet, it appears that the SEC takes no issue with such

 facts.

          109. Ripple was selected by CNBC as one of the top fifty companies in the world

 when considering companies utilizing disruptive technologies.

          110. Ripple is partnered with 300 financial institutions, including American Express,

 PNC, Bank of America, MGI and many others. It is widely known that Warren Buffet is the

 largest shareholder in Bank of America. Ripple’s partnership with entities like Bank of America

 and American Express gave investors, including the Petitioners and all others similarly situated,

 confidence that Ripple would not later, in essence, be classified as a bad corporate citizen, by the

 SEC. Respondent had a duty to inform the public that it believed Ripple and its executives to be

 bad actors and/or involved in illegal securities. Ripple, in May of 2020, made XRP distributions

 only after providing the SEC notice. If the SEC knew it might, seven months later, call those



                                                      32
Case 1:21-cv-00001-WES-PAS             Document 1-1        Filed 01/01/21     Page 33 of 69 PageID
                                             #: 61




 very distributions of XRP - illegal securities – it owed a duty to the public, including the

 Petitioners and all others similarly situated.

         111. Ripple, in December 2019, is named the fourth most valuable VC backed Fintech

 Unicorn in the world valued at $10 Billion USD.

         112. In 2020, Ripple claims 38% of the world’s top 100 banks are linked to Ripple.

         113. Ripple partners with European Exim Bank and on the Winter 2020 cover of

 Finance Magazine, the CEO of Exim Bank is pictured with the title “Ripple and the Trade

 Finance Revolution.”

         114. As stated, in the last few years, Ripple emerged as the main challenger to SWIFT

 by offering instant cross border payments. Brian Brooks publicly stated that the Government

 should allow existing private companies and technology to replace SWIFT.

         115. Goldman Sachs’ former executive resigns and goes to work for Ripple related to

 Fx markets. As stated, SBI was testing XRP in the Fx Markets and the Global Fx markets equal

 $1-7 Quadrillion. This use case alone makes XRP a non-security.

         116. PayPal’s CEO Dan Shulman publicly stated that digital currencies are the future

 of finance and money. In 2020, PayPal began allowing individual customers purchase Crypto

 Assets on PayPal’s platform. Individuals, as of now, can purchase BTC, ETH, LTC and BTH on

 the PayPal platform. Interestingly, XRP, as the third largest Crypto Asset was not included. CEO

 Dan Shulman stated publicly, that prior to launching this Crypto Platform, PayPal was working

 closely with regulators. Hence, upon information and belief, Clayton shared information with

 PayPal regarding the SEC’s potential filing of an enforcement action. XRP’s market cap and

 liquidity is much more significant than BTH and LTC, therefore, the only explanation why

                                                      33
Case 1:21-cv-00001-WES-PAS              Document 1-1      Filed 01/01/21   Page 34 of 69 PageID
                                              #: 62




 PayPal would exclude the third largest crypto asset is because it was provided information by

 Clayton that the American public was not.

         117. PayPal announced that in 2021 it will allow for crypto assets to provide the

 funding source for retail purchases to its 28 million merchants. Morgan Stanley issued a

 statement that the PayPal pledge to support Crypto as a funding source for 28 million merchants

 will likely lead to mass cryptocurrency adoption.

         B.) The CBDC Revolution and XRP’s role in it.

         118. After addressing the need for financial relief caused by the Global Covid-19

 Pandemic CBDCs, have arguably become the most significant financial topic in the world today.

         119. China’s President Xi has urged world leaders to support CBDCs. At the recent

 G20 meeting in November 2020, he stressed the need for CBDCs.

         120. Japan accelerated a rollout of the digital Yen and CBDC.

         121. Canada announced it will soon launch a CBDC.

         122. The Bank of England says digital currencies may replace banks role in payments

 altogether.

         123. The European Central Bank said that Europe is losing in the CBDC race and that

 there will be significant consequences.

         124. PayPal CEO Dan Shulman recently stated there is “no doubt people flocking to

 digital currencies and CBDCs will be the future and there is no doubt that CBDCs will be issued

 directly by Central Banks to people.

         125. A top Japanese Banker said digital currency development is the top priority and

 that Japan is behind China and South Korea.

                                                     34
Case 1:21-cv-00001-WES-PAS            Document 1-1          Filed 01/01/21    Page 35 of 69 PageID
                                            #: 63




         126. The Head of Russian Parliaments for financial markets stated that the Crypto

 Ruble will start in 2021.

         127. The Bank of America reports that the Federal Reserve will use digital dollars to

 unleash inflation, provide UBI and debt forgiveness.

         128. Federal Reserve chairman Jerome Powell is asked by legendary investor Paul

 Tudor Jones to declare Bitcoin as a monetary reserve, like gold.

         129. China has already created a CB-backed digital currency and has been using it for

 the last couple of months in select Chinese cities.

         130. Deutsch Bank released a report about China issuing the first CBDC and states that

 it is now a step closer to its goal of removing the U.S. dollar as the world’s reserve currency.

         131. A Top Russian banker declared SWIFT to be replaced by digital currencies.

         132. OCC Brian Brooks stated publicly that in the U.S. there are too many agencies in

 finance and banking. He openly asks the question “Do we think it’s best for the Government to

 build a CBDC or utilize the private sector, which is already built?” Brian Brooks, without

 question was discussing XRP and the XRPL. There is no doubt it was XRP that he was

 referencing because he stated that the technology to build a CBDC was “already built”, but that

 the only issue was with a lack of regulatory clarity. He could not have been referencing BTC or

 ETH because they have long enjoyed regulatory clarity by being declared non-securities by the

 SEC. Additionally, Brian Brooks has stated that the industry needs to know whether the SEC

 thinks XRP is a security. Utilizing XRP to help build CBDCs alone makes XRP a non-

 security.



                                                       35
Case 1:21-cv-00001-WES-PAS           Document 1-1        Filed 01/01/21    Page 36 of 69 PageID
                                           #: 64




         133. In fact, Ripple announced that it intends to leverage its payment platform and the

 XRPL for delivery of CBDCs.

         134. Garlinghouse publicly stated that Central Banks are looking to issue CBDCs on

 the XRPL.

         135. Garlinghouse also stated publicly, “XRP could be a key crypto asset in the digital

 dollar revolution.”

         136. Ripple presented a plan to host CBDCs together with the XRP token. The XRPL

 will host CBDCs and public and private entities are able to modify CBDCs according to their

 needs. This use case alone makes XRP a non-security.

         137. As stated, the WEF names XRP as the most relevant crypto for CBDCs by banks.

 This use case alone makes XRP a non-security.

         138. David Schwartz, Ripple’s CTO, says that the XRPL will bridge between CBDCs.

 In short, XRP acts as a bridge currency (emphasis added). This use case alone makes XRP a

 non-security.

         139. After the WEF’s comment regarding XRP, discussion emerged within the crypto

 community whether XRP would become the world’s global CBDC or be a bridge asset between

 all CBDCs. While all of this positive news is being published in the Crypto investor community,

 the SEC is nowhere to be found. The SEC was aware of all of this utility being discussed related

 to XRP and not only said nothing, but when asked, repeatedly, refused to share information that

 would protect innocent investors.

         140. Not only did the WEF discuss the utility of the XRP token, but, long before the

 SEC’s factually and intellectually dishonest claim that XRP is a security when it commenced its

                                                    36
Case 1:21-cv-00001-WES-PAS              Document 1-1         Filed 01/01/21      Page 37 of 69 PageID
                                              #: 65




 enforcement action on December 22, 2020; the IMF had also listed XRP as a bridge currency.

 Hence, internationally and in the United States, XRP was being described as a currency, or

 commodity, or utility token. As stated, the DOJ’s FinCen also classified it as “virtual currency.”

            141. The SEC complaint against Ripple and XRP, declaring that XRP was, always has

 been, and continues to be, a security is likely the most far-reaching, outrageous and absurd claim

 the SEC has ever alleged. When you consider the economic destruction the SEC complaint

 caused, one immediately thinks that it was filed with reckless disregard for the collateral

 economic damage to thousands of innocent investors with absolutely no connection to Ripple

 and its executives. Once you consider all the forementioned facts coupled with the fact that

 Clayton was warned by a former SEC Chairman, whom pleaded with Clayton not to file the

 action due to “unprecedented multi-billion-dollar losses to innocent investors,” immediate

 thoughts of criminality come to mind. It is almost criminal what the Respondent have done to

 innocent investors with no connection to Ripple (including many that have never even heard of

 Ripple).

            Today’s XRP IS NOT the XRP of 2013 to 2015

            142. The Petitioners in this action, as well as the undersigned counsel, are not bringing

 this action to defend Ripple, Garlinghouse or Larsen. It may very well be the case that at some

 point in the initial offerings of XRP, from Ripple to entities and/or individuals, some of those

 distributions, might, arguably, be considered a security under the Howey Test. But the SEC did

 not limit its allegations against Ripple, like it has in similarly situated cases, to early offerings of

 the asset in question. Here, the SEC, at Clayton’s direction, is alleging that XRP today, SEVEN

 YEARS, including the XRP owned by the named Petitioners and all others similarly situated,

                                                        37
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 38 of 69 PageID
                                            #: 66




 constitute unregistered securities. The SEC is actually alleging that the XRP that sits in

 individual accounts on Coinbase, Kraken, Binance, Uphold, or in individual investor digital

 wallets, etc. are illegal securities - even if XRP holders have never heard of Ripple,

 Garlinghouse, or Larsen. This broad, sweeping claim is why entities, such as Bitwise, liquidated

 all of its XRP. This overly broad, reckless, and absurd allegation by the SEC is why Chairman

 Grundfest wrote to Clayton warning him that there would be an “exodus of intermediary market

 service providers. Clayton and the SEC cannot claim that the extreme reaction by the

 marketplace was unforeseeable. They knew these exact consequences would result wiping

 billions of dollars in innocent investor wealth. The SEC and Clayton not only DID NOT protect

 the investors they swore an oath to protect, but they intentionally caused catastrophic economic

 losses to those investors, during a Global Pandemic, nonetheless.

         143. In essence, as alleged in its complaint, the SEC is claiming that all XRP holders

 knowingly relied solely on the efforts of Ripple to drive profits with their purchase of XRP.

 However, many Petitioners, including some of the named Petitioners as well as hundreds, if not

 thousands, of others similarly situated, have never heard of Ripple or its executives.

         144. The legal substance of the SEC Complaint claiming present day XRP a security is

 extremely weak and does not provide an analysis of how XRP today constitutes a security.

 Usually, the SEC will attempt to establish a prima facie case establishing the asset in question is,

 in fact, a security. The Complaint, in passing, references SEC v. W.J. Howey Co., 328 U.S. 293

 (1946), but offers zero substantive analysis on the 4-factor test Howey – all of which must be met

 in order to call an asset a security. Instead, the SEC cites to Howey but simply concludes XRP is

 an unregistered security. There is barely any analysis made of the actual Howey factors

                                                      38
Case 1:21-cv-00001-WES-PAS             Document 1-1        Filed 01/01/21     Page 39 of 69 PageID
                                             #: 67




 demonstrating XRP ever being a security. The little analysis that is offered by the SEC relate to

 specific, early distributions of XRP, made directly from Ripple and its executives. The SEC

 completely ignores all the facts and instances of XRP being utilized today, by parties other than

 Ripple. The SEC in its complaint cites to early distributions of XRP, but concludes XRP, even

 today, is an unregistered security.

         145. The Petitioners, in this action, have described the SEC enforcement action as an

 action against Ripple and XRP. These are two distinct and very different theories. The

 Petitioners are not here to defend Ripple. Ripple’s talented legal team can do that. The

 Petitioners here, and all others similarly situated, however, as holders of XRP, must address the

 SEC claims that the XRP that they have acquired are illegal securities. The Petitioners and all

 others similarly situated have suffered great economic loss and bring this action seeking relief

 from the SEC, itself, for its own actions, but also to ensure that if the SEC ever collects funds

 from Ripple and/or its executives, that those funds will go to the innocent victims with no

 connection to Ripple or its executives.

         C)The XRP Existing Today is not a Security

         146. Former CFTC chairman Chris Giancarlo authored a written opinion on the Digital

 Asset XRP in June 2020 – 6 months before the filing of the SEC’s enforcement action. Chairman

 Giancarlo is also head of the Digital Dollar Project for the U.S. Government. Hence, the Crypto

 Community has nicknamed him “Crypto Dad”. Applying a similar methodology, he used to help

 declare both BTC and ETH as non-securities, he reached the same conclusion regarding XRP.

 According to Chairman Giancarlo, XRP fails the Howey Test, and is not a security.



                                                      39
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 40 of 69 PageID
                                            #: 68




         147. Chairman Giancarlo, along with former Federal Reserve member, Conrad Bahlke

 wrote an op-ed published in Internet Financial Law Review (IFLR) discussing Ripple and the

 application of U.S. Securities Laws to XRP, the world’s third largest cryptocurrency. In this

 opinion piece, the authors highlight the case for XRP’s classification as a medium of exchange or

 a currency.

         148.    Chairman Giancarlo points out that much like BTC and ETH, XRP is a digital

 currency supported by a distributed ledger that uses cryptography to store and transfer assets. He

 highlights that XRP and the underlying XRPL were specifically designed as a payment

 mechanism.

         149. Chairman Giancarlo explains that Ripple, today, (emphasis added) offers XRP to

 address liquidity challenges faced by financial institutions, including high transaction fees, long

 processing times, the need for third party monitoring interposed by traditional clearing houses

 and settlement mechanisms.

         150.    According to Chairman Giancarlo, unlike BTC and ETH, however, XRP is not

 mined. This lack of mining does not fundamentally change how XRP is utilized or how securities

 laws apply.

         151. Chairman Giancarlo explains that in the absence of mining, XRP cannot be

 generated by third parties. Instead of mining by third parties, a finite supply of 100 Billion XRPs

 were created at the time of inception. Ripple holds in escrow slightly more than fifty percent of

 the XRP and is sold periodically.

         152. Chairman Giancarlo explains that the differences between XRP and BTC and

 ETH exist to better serve XRP’s intended purpose as a liquidity tool and settlement mechanism.

                                                      40
Case 1:21-cv-00001-WES-PAS             Document 1-1           Filed 01/01/21   Page 41 of 69 PageID
                                             #: 69




 These differences, however, do not fundamentally set XRP apart from BTC and ETH from a

 legal perspective. Applying that same legal perspective to XRP, Chairman Giancarlo found that

 using XRP to address liquidity issues and as an asset to bridge different fiat currencies or even

 bridge other Digital Assets (CBDCs), XRP did not meet all 4 factors of the Howey Test.

            D) The Howey Test

            153.   Howey is a 1946 Supreme Court case that has set the standard for over 74 years

 in determining what constitutes a security. The underlying asset in Howey was orange groves.

 These were plots of land that were sold to tourists. The investors purchased the lots of land, but

 also paid the seller money to manage the orange groves. The seller would plant the seeds, water

 the trees, harvest the oranges and then sell the oranges to people and places, and the investors

 would share in the profits.

            154. The Supreme Court laid out a four-factor test that has become the Howey Test in

 deciding whether an asset is an investment contract - also known as a security. The Howey Test

 comprises of 4 factors and all four factors must be met in order to classify the asset as a security.

 Those factors are: 1) a person must invest money; 2) in a common enterprise; 3) the person is led

 to expect profits; and 4) from the sole efforts of others.

            155. The Supreme Court, in applying the four factors, concluded that the orange groves

 were securities because the investors did nothing. They never visited the land; never procured the

 trees; never took possession of the oranges; or did anything, except invest money and wait for

 profits.

            156. After Howey, there have been a progeny of cases wherein the four-factor test was

 applied. Some of the highlighted assets included oil drilling rigs, whiskey barrels, pay phones,

                                                       41
Case 1:21-cv-00001-WES-PAS             Document 1-1         Filed 01/01/21     Page 42 of 69 PageID
                                             #: 70




 and even beavers. In all these cases, like in Howey, the investor gave money, sat back, and

 collected money in profits. In all of those situations, the assets (investment contracts) were

 deemed a security.

         157. The single most important, consistent factor in Howey and its Progeny is that the

 investors purchased the asset (orange grove, beaver, etc.) from the sponsor/seller directly but

 never took possession of those assets. In other words, the investors never took possession of the

 beavers, or the oranges or the whiskey, or the pay phones, etc. The buyers never took possession

 of those assets. If, for example, the investor would have taken the oranges, himself, to sell, it

 would not have been a security.

         158. The Petitioners, and all those similarly situated, have never purchased XRP from

 Ripple or its executives. The Petitioners, and all those similarly situated, have never visited

 Ripple offices or met its executives. Several of the named Petitioners and hundreds, if not

 thousands, of others similarly situated, have never heard of Ripple, Brad Garlinghouse, or Chris

 Larsen UNTILL the SEC’s lawsuit.

         159.    Retail XRP holders, including the named Petitioners, and all others similarly

 situated, custody their XRP. Some Petitioners have money market service providers, such as

 Coinbase, custody their XRP. This is a significant distinction from Howey and its Progeny. In

 fact, inside the crypto community, there is a saying “Not your keys, not your crypto.” In other

 words, unlike the oranges, the drillings rigs, the pay phones and the beavers, the holders of XRP

 keep possession of their own XRP and purchased and maintained their XRP with absolutely no

 connection to Ripple or its executives.



                                                       42
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 43 of 69 PageID
                                            #: 71




         160.    If holders of XRP maintain their XRP on an exchange such as Coinbase (and

 almost all others) XRP holders, like the Petitioners, can CONVERT XRP into ETH, BTC, LTC,

 BTH or many other crypto assets. This factor alone takes XRP out of the classification of a

 security, under Howey. In Howey and its progeny, investors didn’t have possession and control

 of the oranges or the beavers to sell. And They certainly couldn’t CONVERT the oranges to

 apples! The SEC’s overbroad claim that XRP is a security today would be laughable if it hadn’t

 caused catastrophic economic loss to the innocent investors the SEC is supposed to protect.

         161. In sum, under Howey, a transaction represents an investment contract (aka

 security) if a person invests his money in a common enterprise and is led to expect profits solely

 from the efforts of the promoter, sponsor or third party. The mere fact that an individual has

 purchased and/or acquired XRP does not create any relationship rights or privileges with respect

 to Ripple. When the Petitioners and all others similarly situated acquired XRP, Ripple had not

 marketed XRP as an investment product, nor did it promise the Petitioners or other XRP holders

 any sort of profit, return, or investment. As stated, several of the named Petitioners and

 thousands of others similarly situated have never heard of Ripple or its executives prior to

 acquiring XRP. In fact, several of the named Petitioners, and many others similarly situated, only

 learned of the Company Ripple, Garlinghouse and Larsen BECAUSE of the SEC’s enforcement

 action. Some of the named Petitioners are only aware of Ripple emphasizing the functionality of

 XRP as a liquidity tool, settlement mechanism, and as a bridge asset between two fiat currencies

 and/or between different sovereign CBDCs. The Petitioners never believed that owning XRP

 provided title, privileges, and/or legal rights or entitlements into the Company Ripple.



                                                      43
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 44 of 69 PageID
                                            #: 72




         162. Not a single case in the 74 years since the Howey Test was established has the

 Court found a security absent a contract or privity between buyers and sellers.

         163. The Petitioners and all others similarly situated are unaware of efforts or

 statements by Ripple leading the Petitioners to expect profits for their purchase or acquisition of

 XRP. To the contrary, some named Petitioners are aware that Ripple executives and former

 executives have publicly stated that XRP was not designed for retail investors. These Ripple

 executives have stated that XRP was not designed to pay for a cup of coffee. Instead, it was

 designed for the banks and money service providers. In fact, XRP was labeled by the hard-core

 BTC community as the “Bankers Coin.” XRP, as the Bankers Coin, was helping financial

 institutions, which run afoul of the original vision of BTC, which was to replace and/or bypass

 the banks. See generally Bitcoin: A Peer-to-Peer Electronic Cash System, Satoshi Nakamoto,

 2009.

         164. The mere fact that some investors may acquire XRP with the hope that it will

 increase in value does not transform XRP into a security. The same is true of BTC and ETH

 speculators. The same is true with baseball card speculators, gold speculators, or even art

 speculators.

         165.    If the SEC’s claim that today’s XRP constitutes a security under Howey, then all

 other “alternative coins” that comprise the cryptocurrency market are securities. This includes

 ETH, which the SEC has stated is a non-security. A ruling that the XRP that sits in people’s

 accounts that have absolutely no connection to Ripple are illegal securities is a death blow not

 just to XRP, but to all non-Bitcoin designated crypto. Actually, if the courts stretch the Howey

 Test as far as Clayton has suggested in statements regarding securities, there are even scenarios

                                                      44
Case 1:21-cv-00001-WES-PAS             Document 1-1         Filed 01/01/21     Page 45 of 69 PageID
                                             #: 73




 where the SEC could argue that specific Bitcoin distributions constitute a security. Maybe that is

 the motive behind the ridiculous claim that the XRP in the Petitioners’ accounts are securities.

 The motive behind filing the enforcement action against XRP IS NOT the protection of investors

 or the fair application of federal securities laws. Clayton’s motives, however, will be

 demonstrated later herein.

         166.    Every Altcoin was built by someone for financial gain. That person, group or

 entity reports some kind of venture, special utility or business to boost its value. There are

 Bitcoin businesses that offer Bitcoin as payment. The receiver then certainly hopes and

 speculates that the Bitcoin will appreciate in value. If the SEC is allowed to classify today’s XRP,

 held by retail investors, as illegal securities, then an entire flourishing and innovative industry is

 in peril. In fact, Prominent Bitcoin advocate, Max Keiser, has recently claimed that the SEC will

 now target all other altcoins.

         167.    For example, if today’s XRP is a security, so is Ethereum. ETH was created by

 Vitalik Buterin and twelve-million ETH was created for six founders and the development of the

 Ethereum Foundation. Sixty-million ETH were pre-mined for participants to buy. The Ethereum

 Foundation was founded in 2014. In 2017, when ETH was near all-time highs in value, Vitalik

 persuaded the foundation to sell 70,000 ETH, totaling, approximately, $100,000,000 for the

 foundation.

         168. The Ethereum Foundation has helped ETH grow. Without the Ethereum

 Foundation, ETH would be less successful. It was gifted ETH and it used it in order to fund

 ventures to help promote itself and ETH. Prominent crypto-investor, Mike Novogratz, purchased

 500,000 ETH and Vitalik commented that the foundation may not have survived were it not for

                                                       45
Case 1:21-cv-00001-WES-PAS             Document 1-1        Filed 01/01/21     Page 46 of 69 PageID
                                             #: 74




 that single purchase. Mike Novogratz speculated that ETH would increase in value. He has

 confirmed that, at times, he has sold some of his ETH for profit. On at least one occasion, Vitalik

 was able to get the major exchanges to stop trading ETH. The Ethereum Foundation’s early sales

 of ETH, and Vitalik’s actions in those early days, are not shining examples of decentralization.

 But the ETH that exists today, like XRP, sitting in thousands of retail investors accounts and

 wallets cannot be compared to the distributions of ETH that were made many years ago at its

 inception and infant stage. The point is not to take shots at ETH, but only to point out that, the

 SEC’s claims against XRP would have to apply equally to ETH and every other Altcoin in the

 cryptocurrency market. Yet, the SEC has previously declared ETH to be a non-security.

 Chairman Giancarlo has declared ETH to be a commodity. Once again, likewise, Chairman

 Giancarlo has publicly stated that XRP is not a security.

         169. The Petitioners in this action, as well as the undersigned counsel, do not assert or

 believe that ETH is a security. Several of the named Petitioners, in addition to owning XRP, also,

 own ETH and BTC. The Petitioners and undersigned counsel agree with previous SEC

 statements, that ETH is, in fact, not a security. The Petitioners, through counsel, are simply

 demonstrating what former SEC Chairman Grundfest stated to Clayton in his letter attempting to

 convince Clayton from filing the enforcement action declaring XRP an unregistered security and

 causing billions in losses to innocent investors. Chairman Grundfest informed Clayton that “XRP

 and Ethereum should be subject to the same treatment given that the SEC hasn’t illustrated a

 “material distinction” between the operation of Ethereum and XRP that is relevant to the

 application of the federal securities laws.”



                                                      46
Case 1:21-cv-00001-WES-PAS             Document 1-1         Filed 01/01/21     Page 47 of 69 PageID
                                             #: 75




         170.     Chairman Grundfest stated in no uncertain terms that if the SEC imposes

 “security law obligations on XRP while leaving Ethereum untouched” then this “raises

 fundamental fairness questions about the exercise of commission discretion.” (emphasis

 added). Chairman Grundfest recognized that this move by the SEC against XRP made no legal

 sense and called Clayton’s motives into question.

                Why would Clayton, after seven years of continuous and daily 24/7 trading of XRP

                in the United States, on his last full day in office, with a new opposing party

                administration assuming control of the SEC in less than 30 days, knowing that an

                enforcement action by the SEC, claiming that the third largest Cryptocurrency,

                XRP, even in its current status, constitutes unregistered securities, is going to

                cause unprecedented billions of dollars in losses to innocent investors with

                absolutely no connection to the company or its executives that the SEC is pursuing,

                after being cautioned and/or warned by a former SEC Chairman that there exists

                no exigency that could justify the catastrophic economic damage that will ensure -

                files suit anyway?

         Alternative Motives

                Political Revenge

        171.      It is widely known both in the cryptocurrency community and the Government

 that Clayton is perceived to be anti-crypto. President Trump has stated that he does not favor

 Bitcoin or crypto assets. Secretary Steven Mnuchin has stated similar beliefs. As stated, Former

 National Security Advisor John Bolton has publicly stated that he was present when he heard

 President Trump instruct Treasury Secretary Steven Mnuchin “to go after Bitcoin.” More

                                                       47
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21    Page 48 of 69 PageID
                                            #: 76




 significant, is that Ripple and its executives, especially Chris Larsen, Brian Garlinghouse, and

 General Counsel Stuart Alderoty have been very critical of the Trump Administration and of

 Clayton in his role as Chairman of the SEC.

        172.     In fact, the tension between Ripple, Clayton and the Trump Administration

 became public in 2019-2020. Prior to that, Garlinghouse along with the CTO of Ripple met with

 Clayton and Trump’s senior officials at the White House. Afterwards, Ripple’s general counsel

 stated publicly that the U.S. is dangerously close to losing the global edge in crypto and

 Blockchain technology to China.

        173.     Larsen publicly argued that China can reverse a Bitcoin transaction due to its

 control over the Chinese Bitcoin miners. Larsen repeatedly argued that the U.S. isn’t winning the

 technological Cold War against China. Larsen repeatedly argued that China and Asian mining

 related to BTC and ETH constitutes for 80% of total mining, and the U.S. Government’s inaction

 is losing the war and suppressing American innovation.

        174.     Garlinghouse goes on national television, including CNBC and Fox Business and

 openly threatens to relocate Ripple outside of the United States because of the Trump

 Administration’s continued lack of regulatory clarity. Garlinghouse on Fox, nonetheless, states

 that the Trump Administration and Clayton are favoring China and suppressing American

 innovation by providing regulatory clarity to ETH and BTC, which are controlled and subsidized

 by the Chinese Communist Party.

        175.     Ripple and its executives and/or lobbyist were effective in getting significant and

 powerful politicians to question Clayton’s performance. Senator Mike Crapo wrote a letter to



                                                      48
Case 1:21-cv-00001-WES-PAS              Document 1-1        Filed 01/01/21     Page 49 of 69 PageID
                                              #: 77




 both the OCC and SEC seeking clarity regarding crypto payments. Senator Crapo stated that the

 different Government agencies need clear rules that do not stifle innovation.

           176.   Weeks prior to the SEC enforcement action against Ripple a number of U.S.

 Congressman signed a letter to the SEC asking for regulatory clarity related to Digital Assets,

 including XRP.

           177.   Ripple’s efforts continued to place political pressure on Clayton. The Washington

 Examiner publicized an investigative piece on the issue of the Trump Administration and

 Clayton losing the Blockchain technology war to China because the SEC would not provide

 clarity. An article was published stating that cryptocurrency is at the forefront of not just finance

 but even national security. The article stated that the U.S. Intelligence Community is raising

 concerns about the Chinese Communist Party’s (CCP) influence over digital currencies with the

 SEC. The Director of National Intelligence, John Ratcliffe, wrote a letter directed at Clayton in

 early November 2020 stating that “crypto, CBDCs and e-cash are all being drawn into a multi-

 front global competition against Beijing for leadership of the world’s economy.” He informed

 Clayton that experts and industry leaders (Ripple) are worried that China is leaving the U.S.

 behind in the digital-currency race.

           178.   Director Ratcliffe pointed to concerns the U.S. has regarding China’s sway over

 digital currencies as more than half of the world’s crypto mining operations are located in China.

 He warned Clayton that the Chinese Government has created its own state-controlled digital

 currency that would make it tough for the U.S. based companies (Ripple) and innovators to

 compete. Ratcliffe offered to have the senior economic intelligence officers brief Clayton on the

 matter.

                                                       49
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 50 of 69 PageID
                                            #: 78




        179.    Clayton did not appreciate the pressure being placed on him and his office,

 stemming from the direct efforts of Ripple and its executives. Irritated by the Ratcliffe letter, he

 refused to personally respond although the letter was addressed to him. Instead, an SEC

 Spokesperson responded and claimed, “Chairman Clayton is committed to restoring innovation

 in the Digital Assets and digital payments space consistent with United States investor protection

 and anti-money laundering laws.” A fairly mundane generic response to claims that the SEC was

 helping China win the blockchain crypto revolution.

        180.     As the Washington Examiner observed correctly, this letter by President Trump’s

 spy chief signaled a push to convince Clayton and the SEC to implement rules that make it easier

 for U.S. owned crypto companies (Ripple) to compete against those based in and controlled by

 China. The SEC’s Spokesperson did fire back defensively, stating Clayton’s “work has included

 engaging directly with domestic and international counterparts including Acting Comptroller

 Brian Brooks to ensure the U.S. can remain at the forefront of innovative financial and market

 technology.”

        181.     Ripple’s General Counsel was interviewed regarding this scathing rebuke and

 criticism of Clayton and the SEC. Stuart Alderoty publicly warned about China’s influence in the

 Digital Asset space. He said “the data doesn’t lie; the vast majority of Bitcoin’s network and

 infrastructure-chips, mining pools and software are all located in China or created by Chinese

 companies. This is not decentralization. The CCP wields absolute control in China.”

        182.     Ripple’s General Counsel remarks to the Washington Examiner were critical of

 the Trump Administration and the SEC, including Clayton. Alderoty wrote in August 2020 that

 “the Chinese Government subsidizes the vast amounts of energy needed to fuel Bitcoin and

                                                      50
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 51 of 69 PageID
                                            #: 79




 Ethereum miners and at least 65% of Bitcoin mining is concentrated in China.” Ripple’s General

 Counsel openly and publicly questioned whether the U.S. is really willing to allow China to win

 this new technological and economic Cold War and, with it, allow China to dictate important

 parts of a new global payments system.

          183.   The Examiner explained how General Secretary of the CCP, Xi Jinping, has

 repeatedly shown interest in making the CCP the global leader, referring to blockchain as the

 new “Industrial Revolution” in 2018. In 2019, he said greater effort should be made to help

 China gain an edge in digital currencies.

          184.   The Examiner also highlighted that the China Finance Magazine operated by the

 People’s Bank of China said in September 2020 that the power of digital currencies would soon

 be a new “battlefield” and China should “seize the first track.”

          185.   The Washington Examiner’s article concluded by taking a direct shot at Clayton.

 A Senior Intelligence officer told the Washington Examiner that “competing with China is a

 serious enough challenge without U.S. regulators getting in the way.”

          186.   Ripple’s political pressure on Clayton and the SEC was significant, aggressive,

 and continuous up until the enforcement action was filed on December 22, 2020, Clayton’s last

 full day at the SEC. Senator Tom Cotton also sent Clayton a letter in the Summer of this year,

 after he sent his first letter to Clayton in December 2018. In both letters, Cotton addresses the

 same issue with the SEC and did not mince words directed at Clayton when he asserted that

 “there is a need for the SEC to develop a clearer articulation of policy and ultimately formal

 commission guidance addressing digital currencies to ensure U.S. companies have a chance to

 lead.”

                                                      51
Case 1:21-cv-00001-WES-PAS            Document 1-1        Filed 01/01/21     Page 52 of 69 PageID
                                            #: 80




        187.    Senator Cotton’s second letter in July 2020 to the SEC also included Director

 Ratcliffe and White House National Security Advisor O’Brien lamenting how “so far, the SEC

 has concluded that only two Digital Assets can be considered non-securities—Chinese controlled

 Bitcoin and Ethereum.” Cotton was making the same argument that Ripple and its executives

 have been making since 2017: that the SEC has provided regulatory clarity for BTC and ETH

 but not XRP, thereby favoring China over the United States’ own innovation. Ripple’s claim that

 the SEC needs to provide regulatory clarity and that BTC and ETH favor Chinese companies

 over U.S. companies was being made by Congressmen, National Security Advisors, Senior

 Intelligence Officers and U.S. Senators. And they all were directing their criticisms to one

 agency and its Chairman: Clayton and the SEC. This Political pressure on the SEC and Clayton

 was intense and no doubt initiated by Ripple. As stated earlier, Clayton was not only questioned

 about Ripple and/or XRP by politicians and Government agents, but also interviewed by

 business television reporters on CNBC and Fox as well as by participants attending FinTech

 Conferences. In all settings, Clayton was always questioned directly about XRP. For almost three

 years, Clayton was continuously asked by multiple parties the same question: Will the SEC make

 official statements and declarations that XRP, like BTC and ETH are not securities? For three

 years, Clayton gave the same response which was that the “SEC will not comment on a specific

 product” - even though the SEC had previously provided comment of specific products in BTC

 and ETH. Clayton always replied by vaguely saying “If it’s a security, we will regulate it.”

        188.    Senator Cotton argued that the “continued lack of regulatory clarity not only

 hurts U.S. developed Digital Assets, but it puts American national and economic security at

 risk.” Clayton and the SEC refused to even address these concerns raised by prominent leaders of

                                                     52
Case 1:21-cv-00001-WES-PAS              Document 1-1        Filed 01/01/21     Page 53 of 69 PageID
                                              #: 81




 the United States Government as it related to the Digital Asset XRP. Despite these national and

 economic security risks, the Clayton and the SEC remained silent for another five months until

 they decided that they would provide that regulatory clarity via an enforcement action.

        189.       Possibly the worst thing that Ripple executives could do after publicly alleging

 the Trump Administration and Clayton were favoring Chinese technology over American

 innovation, was to also publicly congratulate President-Elect Joe Biden. Moreover, the Ripple

 executives stated that they believe the Biden Administration would be better for the digital

 currency industry than the Trump Administration. In fact, Garlinghouse publicly stated, that

 from his perspective, the Biden Administration had to be better than Trumps because Ripple

 couldn’t imagine the regulatory environment being any worse than the current one. It appears

 that Jay Clayton proved Garlinghouse wrong and provided him with a worse environment than

 the status quo.

        190.       After SEVEN PLUS years of allowing XRP to be openly sold on multiple U.S.

 exchanges; after allowing XRP to be held in Crypto Index Funds and brokerage Trust Accounts;

 after approving Ripple’s purchase of a minority stake in MGI, knowing that XRP would be

 promoted and utilized; after XRP was declared a virtual currency by the DOJ FinCen in 2015;

 after being informed by Ripple in May 2020 that Ripple would be selling more XRP to

 institutions and not stopping it; after years of being continuously questioned about whether XRP

 would get the same non-security status as BTC and ETH; and, after intense political pressure;

 knowing that the opposition party is assuming control of the SEC in less than 30 days; after

 being warned by a former SEC Chairman that he should not file an action; Clayton directed the

 most significant SEC enforcement action in modern history to be filed against Ripple, its

                                                       53
Case 1:21-cv-00001-WES-PAS            Document 1-1        Filed 01/01/21     Page 54 of 69 PageID
                                            #: 82




 executives, and XRP, the third largest Cryptocurrency, claiming all XRP as unregistered

 securities and causing billions in losses to innocent investors with no connection to Ripple. Then,

 the next day, Clayton left the SEC forever.

        B. Personal Gain

        191.    Jay Clayton, prior to the SEC, was a partner at Sullivan & Cromwell LLP as its

 Head of Corporate Practice. Clayton advised the largest firms in investment banking and had a

 long history of advising and working with Goldman Sachs (GS). GS is deeply involved and

 familiar with the global banking infrastructure including cross-border commodity swaps and the

 SWIFT payment system. Jay Clayton’s wife has worked for and closely with GS for two

 decades.

        192.    As stated earlier, and admitted by the SEC in its complaint, since at least 2015,

 Ripple has targeted replacing SWIFT in the international payment arena with XRP. As stated,

 SBI Holdings is testing the use of XRP in the Fx markets. A former GS executive experienced in

 the Fx markets resigned to go to Ripple in order to explore that use case for XRP. As stated, the

 global Fx market is a $1-7 quadrillion market.

        193.    In October 2020, GS officially makes a play into the cross-border payment

 market and officially becomes a competitor to Ripple. Remember, cross-border payments were

 the designed use case for XRP. Also, remember for the last five years, Ripple has been the only

 company offering a replacement to the SWIFT payment system. GS will now compete with

 Ripple in both the Fx markets and cross-border payments. It will be interesting to see what

 connection, if any, Jay Clayton has with GS after leaving the SEC.

        C. Motive to Force Settlement

                                                     54
Case 1:21-cv-00001-WES-PAS             Document 1-1         Filed 01/01/21     Page 55 of 69 PageID
                                             #: 83




         194.    The only logical explanation for why the SEC would allege that XRP continues

 today to be a security is to force a settlement. It is an often-common tactic for a prosecutor to

 overcharge a defendant in an effort to cause panic and/or fear and/or force a settlement/plea.

         195.    If the SEC wanted to hold these two executives liable, it could have done so,

 separately, by alleging specific distributions made by them personally at specific periods of time,

 constituted securities. But, as demonstrated, XRP, itself, today, is not a security. According to

 the SEC complaint, the parties entered into statute of limitations tolling agreements. Therefore,

 the parties discussed a potential resolution or settlement. This statement is corroborated by

 Garlinghouse in his letter to Ripple employees when he states that he and Larsen could have

 settled separately but chose to fight the charges. Clearly, a pre-filing settlement was out of the

 question. Thus, the SEC possibly employed a kitchen sink approach to the charges and threw

 everything in (including the kitchen sink). Simply put, the SEC filed the most aggressive

 complaint they possibly could in order to inflict the greatest harm they could in order to bully or

 coerce a party to settle.

         196.    The Petitioners offer the kitchen sink theory because there is no possible way that

 Clayton or the bright and talented lawyers of the SEC honestly believe that they can convince a

 judge or a jury that all the XRPs in existence, in thousands of accounts of investors that have

 absolutely no connection to Ripple, are all securities. The claim that today’s XRP – the XRP

 sitting in the accounts and/or digital wallets of the named Petitioners and all others similarly

 situated – constitute securities under the Howey Test is so weak that a Summary Judgement is

 likely to be granted in favor of the Petitioners in this action or in favor of Ripple in the SEC

 enforcement action regarding today’s XRP. Quite frankly, it is legally incorrect, intellectually

                                                       55
Case 1:21-cv-00001-WES-PAS               Document 1-1        Filed 01/01/21     Page 56 of 69 PageID
                                               #: 84




 dishonest and completely disingenuous for any SEC lawyer to stand up in open court and claim

 that all XRPs are securities. If the SEC attempted to make that argument, it would be laughable,

 if the economic damage that has been done wasn’t so tragic.

        D. The Enforcement by Regulation Approach to Cryptocurrency

        197.        As stated, if the SEC is successful in classifying Today’s XRP as a security, then,

 basically, all Crypto is in danger of being classified a security. Arguably, digital currencies, Defi,

 and CBDCs have been the most talked about area of finance during the last several years,

 exploding this year due to the Global Pandemic. Crypto and Bitcoin has generated more

 publicity and dialogue than any other financial topic and/or instrument in the world. In addition

 to the global expansion of crypto assets previously discussed, during the last 12-18 months the

 following news and or actions have been taken regarding the King of Crypto, BTC:

               a)      As stated, legendary investor Paul Tudor Jones requested Federal Reserve

                     Chairman Powell to classify BTC as a monetary reserve;

               b) Fidelity Investments, after establishing an entire division called Fidelity Digital

                     Assets, predicts a $1 million BTC price in a 19-page report;

               c) Deutsche Bank calls for a $500,000 BTC in 2021;

               d) Citibank calls for a $318,000 BTC in 2021;

               e) Grayscale’s BTC Trust has doubled in the last 6 months (along with all crypto

                     assets, including ETH and XRP;

               f) MicroStrategy buys over $1 Billion in BTC and uses it as its treasury reserve,

                     replacing fiat dollars;

               g) Square buys $50 million of BTC and places it on its corporate treasury reserve;

                                                        56
Case 1:21-cv-00001-WES-PAS         Document 1-1       Filed 01/01/21    Page 57 of 69 PageID
                                         #: 85




           h) Individuals can buy BTC on Square’s CashApp;

           i) Individuals can buy BTC on Robinhood’s App;

           j) Individuals can purchase BTC, ETH, LTC and BTH on PayPal App and PayPal

              announces that in 2021, cryptocurrency can be used as a funding source for

              retail purchases for its 28 million merchants;

           k) DBS publicly declares BTC a viable alternative to Gold;

           l) Ruffer Asset Management purchases over $740 million in BTC;

           m) One River declares it has approved the purchase of between $600 million up to

              $1 Billion in BTC;

           n) CME, having started a BTC Futures Platform, announce they will have ETH

              Futures in 2021;

           o) Guggenheim invests in BTC and says BTC is Digital Gold;

           p) BTIG says BTC will go to a minimum of $50,000 within 12 months;

           q) Niall Ferguson declares BTC the winner of the monetary systems;

           r) Plan B’s STF Model predicts $288K;

           s) JPM predicts BTC at over $500,000;

           t) Mass Mutual Insurance Company invests $100 million into BTC;

           u) Legendary investors, Cathie Wood, Raoul Pal, Bill Miller, Stanley

              Drukenmiller, Alliance Bernstein, George Ball, Larry Fink, Chamath

              Palihapitiya, Blackrock, and many other legendary investors and money

              managers, declare BTC as the best store of value available to both institutional

              and individual investors;

                                                 57
Case 1:21-cv-00001-WES-PAS             Document 1-1         Filed 01/01/21     Page 58 of 69 PageID
                                             #: 86




               v) BTC becomes the largest, by market cap, financial services entity in the World,

                   surpassing American Express, Visa Mastercard, PayPal, JPM, Wells Fargo,

                   Goldman Sachs, and Bank of America, and is growing larger by the day; and

               w) BTC rises to the level as the 7th largest currency in the world.

      198.       Other than discussions related to providing economic relief to the world due to

  the global pandemic, without question, BTC, Cryptocurrency, and CBDCs have been the hottest

  topics in finance around the world. Yet, Cryptocurrency has also been attacked. John Bolton

  stated that President Trump directed the Treasury Secretary to “go after bitcoin.” Did Clayton

  and the SEC decide that they would engage in regulation by enforcement by going after the

  third largest Cryptocurrency? It’s not likely the SEC can file suit against Satoshi Nakamato

  related to BTC! Plus, the SEC previously declared BTC and ETH as non-securities. Is the attack

  on XRP a way to revisit those declarations? These are questions being asked because the SEC

  claim that Today’s XRP is a security is, without argument, ABSURD! It is so absurd that it

  forces the Petitioners, the public, and this Honorable Court to question the SEC and Clayton’s

  “exercise of discretion” just as Chairman Grundfest questioned it in his letter to Clayton.

      199.       Clayton has publicly stated that, in his belief, if a person purchases a token and

  someone goes out and does a venture and that effort increases the value of the token, it is a

  security. This characterization of a security is absolutely wrong. Clayton has also stated,

  publicly, that if a person gets a “return” in the secondary markets from the token, it is a security.

  These public statements make one believe that Clayton has never actually read Howey.

  Moreover, these statements are inconsistent with the SEC’s prior declaration that BTC and ETH

  are non-securities.

                                                       58
Case 1:21-cv-00001-WES-PAS             Document 1-1         Filed 01/01/21     Page 59 of 69 PageID
                                             #: 87




      200.       Earlier, Petitioners demonstrated that ETH also would have to be considered a

  security if Today’s XRP is a security. But what about BTC? Certainly, no person would dare

  argue that BTC constitutes a security. But, has there ever been a BTC Foundation, similar to the

  ETH Foundation? Yes. Did the BTC Foundation promote the use and/or purchase of BTC? Yes.

  Have there been ventures related to the development of BTC? Yes. Have individuals or entities

  purchased BTC with the speculation that it would increase in value? Yes. Have those

  individuals or entities sold BTC for “a return” in the secondary markets? Yes.

      201.       Could the SEC, employing the regulation by enforcement strategy target BTC

  down the road, if successful with classifying XRP a security? Miners and node validators for

  PoW create a Digital Asset. That asset, if it’s on the Bitcoin monetary network, is BTC. These

  miners are creating BTC into existence for the sole purpose of selling that BTC in the secondary

  markets for profit (a return). Under Clayton’s absurd definitions of what constitutes a security,

  it would appear to be. What about the BTC mining pools? Are BTC mining pools common

  enterprises seeking to generate BTC to be sold for a profit?

      202.      The Petitioners and the undersigned counsel are not suggesting that ETH or BTC

  are securities. They are absolutely, non-securities. But neither is XRP. Best case scenario

  for the SEC in its action against Ripple, the Howie test could be stretched to include possibly

  the original distribution of tokens to founders, individuals or entities during the very early years

  when Ripple was the only promoter/sponsor/seller of XRP and sold directly to the

  buyers/investors. Howey would have to be stretched to even include these early distributions,

  however. Remember, in Howie and its progeny, the investors never took possession of the

  oranges, whiskey, phone booths, or the beavers.

                                                       59
Case 1:21-cv-00001-WES-PAS             Document 1-1         Filed 01/01/21     Page 60 of 69 PageID
                                             #: 88




      203.      The issue before the Court and the public is that if the SEC actually attempts to

  incorporate Clayton’s public definitions and argue that today’s XRP is a security, it is a slippery

  slope that the SEC is going down. If the SEC does not amend its Complaint to only include

  alleging that specific XRP distributions, made by Ripple or its Executives, in the early days of

  Ripple and XRP, then the entire Digital Asset Industry is on notice that the SEC could be

  coming for your Crypto next. This regulation by enforcement approach applied to Crypto,

  almost a decade later, must not be allowed by the Courts.

      204.       As stated, the new Chairman of the SEC, Elad Roisman, has publicly denounced

  this approach. At SEC Speaks 2020, Mr. Roisman stated “we should not use our enforcement

  powers to promulgate and set new legal standards.” (emphasis added). Chairman Roisman

  expressed concern that regulation by enforcement can undermine the rule making process in the

  Administrative Procedure Act, which provides for public comment.” (emphasis added).

  Former SEC Chairman Grundfest warned Clayton not to file the enforcement action and cause

  such damage when no exigency existed. Not only did Clayton, unlike Chairman Roisman,

  encourage public comment, Clayton wouldn’t allow for comment by the incoming

  administration that was assuming control in less than 30 days.

                                CLASS ACTION ALLEGATIONS

         Petitioners re-alleges and incorporates by reference the allegations set forth in each of

 the preceding paragraphs of this Petition.

         Pursuant to Federal Rule of Civil Procedure 23, Petitioners bring this class action and

 seeks certification of the claims and certain issues in this action on behalf of a Class defined as:



                                                       60
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21    Page 61 of 69 PageID
                                            #: 89




         All United States persons who owned or continue to own the Digital Asset XRP

 purchased before or on about December 22, 2020, excluding all persons, if any, who purchased

 XRP directly from the Company Ripple and or from any of Ripple’s Executives. The Class will

 also exclude any owners of XRP who purchased all of their XRP holdings on or after December

 23, 2020.

         Petitioners reserves the right to amend the Class definition if further investigation and

 discovery indicates that the Class definition should be expanded, narrowed or otherwise

 modified.

         Numerosity: Members of the Proposed Class are so numerous that joinder of all

 members is impracticable. Petitioners do not know the exact size of the Proposed Class, but

 believes that there are, at least multiple hundreds, if not thousands of putative members of the

 Proposed Class geographically dispersed throughout the United States and elsewhere.

         Typicality: The Petitioners Claims are typical of the claims of the members of the

 Proposed Class. The Petitioners and all members of the Proposed Class were damaged by the

 same improper conduct of the SEC and Former Chairman Jay Clayton. Specifically, the

 Respondent, lacking good faith, and with improper motive filed an enforcement action against

 Ripple Labs and its two executives, seeking, several remedies for relief including disgorgement,

 but failed to limit the enforcement action to only the type of XRP distributions that could legally

 be classified as a security under the Howey Test. Instead, Respondent maliciously and/or

 recklessly alleged that all present day XRP, including the XRP owned by the Proposed Class

 constitute unregistered securities. The Respondent made such broad-based allegations even

 though they lack good faith in believing the SEC can prove such absurd claims. The Respondent

                                                      61
Case 1:21-cv-00001-WES-PAS            Document 1-1           Filed 01/01/21    Page 62 of 69 PageID
                                            #: 90




 was warned by a Former SEC Chairman that filing such a claim would cause multi-billion-dollar

 losses to innocent investors. For reasons previously stated, the Respondent filed an enforcement

 action it knows it cannot possibly prove. The Respondent may believe that they can prove

 specific early distributions of XRP, made directly from Ripple, “might’ meet the factors in

 Howey, but no reasonable SEC attorney believes they can meet the Howey Test and convince a

 jury or judge that all present day XRP constitute securities. The SEC’s improper and outrageous

 conduct has cost the Proposed Class economic losses that could exceed One Billion dollars.

         Adequacy of Representation: The Petitioners will fairly and adequately protect and

 represent the interest of the Proposed Class. The interests of the Petitioners are coincident with,

 and not antagonistic to, those of the members of the Proposed Class. Accordingly, by proving

 their own claims, the Petitioners will prove other Proposed Class members’ claims as well.

         Adequacy of Legal Representation: Petitioners have retained counsel who has the

 necessary knowledge, competence and experience to effectively represent the Proposed Class.

 The Petitioners and Petitioners’ Counsel have the necessary financial resources to adequately and

 vigorously litigate this class action. The Petitioners can and will fairly and adequately represent

 the interests of the Proposed Class and have no interests that are adverse to, conflict with, or are

 antagonistic to the interests of the Proposed Class.

         Predominance: Questions of law and fact common to the members of the Proposed

 Class predominate over questions that may affect only individual members of the Proposed Class

 because the Respondent have acted on grounds generally applicable to the entire Proposed Class,

 thereby making a common methodology for determining class damages.



                                                        62
Case 1:21-cv-00001-WES-PAS            Document 1-1        Filed 01/01/21     Page 63 of 69 PageID
                                            #: 91




         Commonality: Common questions of law and fact exists as to all members of the

 Proposed Class, including, but not limited to, the following:

         a.     Whether the Court will order the SEC to amend its Complaint and or declare that

 present day XRP, owned by the members of the class, are not securities;

         b.     Whether the SEC is the appropriate Government agency that governs digital

 currencies;

         c.     Whether the Digital Asset XRP purchased and owned by all members constitute a

 security under the Howey Test;

         d.     Whether if the SEC recovers any funds from Ripple and/or its Executives through

 disgorgement and/or in a settlement or judgement, those entire funds will be deposited in a

 constructive trust to reimburse members for their economic losses related to the SEC’s and/or

 Ripple’s conduct;

         e.     Whether the SEC itself will reimburse members for its actions and the conduct of

 its prior Chairman, Jay Clayton.

         Superiority: Class action treatment is a superior method for the fair and efficient

 adjudication of the controversy. Such treatment will permit a large number of similarly situated,

 geographically dispersed persons or entities to prosecute their common claims in a single forum

 simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, or

 expense that numerous individual actions would engender. The benefits of proceeding through

 the class mechanism, including providing injured persons or entities a method for obtaining

 redress on claims that could not practicably be pursued individually, substantially outweighs



                                                     63
Case 1:21-cv-00001-WES-PAS               Document 1-1        Filed 01/01/21      Page 64 of 69 PageID
                                               #: 92




 potential difficulties in management of this class action. The Proposed Class has a high degree of

 cohesion, and prosecution of the action through representation would be unobjectionable.

         Ascertainability: The members of the Proposed Class are ascertainable by utilizing

 social media, Digital Exchanges such as Coinbase, Kraken, Binance, Voyager, Uphold, etc.

 Recently, a Digital Token Air Drop Snapshot was conducted by Flare Networks which took a

 virtual picture of all XRP accounts/wallets. The Petitioners are unaware of any special difficulty

 to be encountered in the maintenance of this action that would preclude its maintenance as a

 class action.

                 The claims asserted by the Petitioners in this action are identical of the claims of

 the Petitioners Class and any subclass, as the claims arise from the same course of conduct by the

 Respondent and the relief sought within the class and any subclass is common to the members of

 each.

         Absent a class action, it would be highly unlikely that members of the class or subclass

 would be able to pursue their own interests because the costs of litigation through individual

 lawsuits might exceed expected recovery.

                                             CONCLUSION

         The Petitioners take no position on whether some early distributions of XRP sold

 directly from Ripple or its executives constituted securities at the time of those specific early

 distributions. That argument is between the SEC lawyers and the lawyers representing Ripple.

 The Petitioners do note, however, a digital token, like XRP or ETH, can be created without it

 being a security. That doesn’t mean that no laws apply – just not securities laws. There are

 consumer protection laws; banking laws; anti-fraud laws; anti-money laundering laws; unfair

                                                        64
Case 1:21-cv-00001-WES-PAS             Document 1-1         Filed 01/01/21     Page 65 of 69 PageID
                                             #: 93




 trade practice laws; unfair competition laws, and etc., that can be triggered to protect investors

 and allow a fair playing field and disgorge ill-gotten gains from bad actors.

          The Petitioners, however, have demonstrated well beyond a preponderance of evidence,

 that Today’s Digital Asset XRP - the XRP existing in the accounts/wallets of thousands of U.S.

 investors, including the accounts of the named Petitioners and all others similarly situated, are

 NOT securities. Many of these investors do not know anything about the Company Ripple.

 Some of these investors, including the Petitioners and others similarly situated, may very well

 have purchased XRP, speculating that its price would appreciate. Some investors buy exchange

 tokens or utility tokens and speculate that their price will appreciate. This does not cause it to

 subject to federal securities laws.

         When the SEC went after Companies and individuals during the ICO Craze in 2017, it is

 puzzling to understand why the SEC did not go after Ripple and its Executives at that time. In

 2017, the SEC, was well aware of all the facts regarding Ripple and XRP it alleges in its

 Complaint against Ripple. Yet, Ripple and XRP were left alone for more than 3 years. During

 that time, the Digital Asset XRP not only traded publicly on money market exchanges, but the

 “use cases” for XRP grew exponentially, independent of Ripple. Use of the XRPL grew with

 parties and entities unrelated to Ripple. As stated, one independent entity, Flare Networks,

 developed blockchain technology’s first Utility Fork, in efforts to bring Ethereum-based smart

 contracts to the XRPL. A snapshot of all XRP addresses took place with almost all XRP holders,

 including the XRP addresses of the named Petitioners. The Petitioners and all others similarly

 situated, are scheduled to receive an amount of Flare Spark Tokens equal to the amount of XRP

 owned at the time of the snapshot. The SEC and Clayton were fully aware that this Airdrop was

                                                       65
Case 1:21-cv-00001-WES-PAS             Document 1-1         Filed 01/01/21     Page 66 of 69 PageID
                                             #: 94




 occurring related to XRP. If they honestly believed that today’s XRP, sitting in the digital wallets

 of the Petitioners and thousands of other innocent investors, were, in fact, illegal securities, the

 SEC and Clayton would have prevented this Airdrop. If today’s XRP are securities, what are the

 Spark Tokens? Arguably, if the SEC is correct, and XRP is a security and Spark Tokens are

 derived from those securities, Spark Tokens could be classified as securities, as well. In May

 2020, Ripple informed the SEC that it intended to make a distribution of XRP pursuant to its

 ODL platform. The SEC did not prevent said distribution of XRP. Yet, seven months later, the

 SEC is now claiming that that same very distribution of XRP was a transaction involving

 unregistered securities. Without question or doubt, that May 2020 distribution of XRP found its

 way into the secondary trading markets and was purchased by investors who may have never

 heard of the Company Ripple. Investors who purchased that same XRP, have lost almost 80% in

 value of the token since the time of filing of the SEC enforcement action. Soon, in January of

 2021, that same XRP allowed by the SEC, will be untradeable in the United States. If its

 untradeable in the United States, for American investors, it is useless and thus, a total loss.

 People’s life savings have been wiped out because of improper, unethical motives of the

 Respondent.

         There are many who will claim that XRP was a bad investment for the Petitioners and

 all others and they took that risk. For example, many BTC Maximalists have described XRP as a

 “Shit Coin”. Any reasonable person, after reading the above-listed facts, can understand why an

 investor took certain risks when investing in XRP. But whether an investment is a good one or

 not should be decided by the Market, NOT the Government. The risks that investors, including

 the Petitioners, knowingly took, was whether the private and/or public markets would utilize

                                                       66
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 67 of 69 PageID
                                            #: 95




 XRP’s technology to the point of mass adoption or very limited use. The Petitioners and all

 others similarly situated, did not knowingly assume the risk that, after SEVEN YEARS of being

 openly traded right next to BTC and ETH, the SEC and Clayton, with improper motive and/or

 reckless disregard for innocent investors, would file an enforcement action against the third

 largest cryptocurrency, declaring ALL XRP, as unregistered securities, resulting in the

 destruction of billions of dollars in innocent investor wealth.

         Whether the defendant’s assault on XRP was politically motivated, personally

 motivated, or an exercise in prosecutorial bullying tactics to drive settlement, the SEC and

 Clayton intentionally harmed innocent investors with no connection to Ripple. The fact that

 Clayton filed the most significant SEC enforcement action since the seminal 1946 Howey case

 despite it involving the digitalization of finance and money; so significant of an issue, that

 cryptocurrency and CBDCs were the biggest topics of the November 2020 G20 Summit; on the

 last day of Clayton’s tenure as the SEC Chair; with the opposing party assuming control of the

 SEC in less than 30 days; after being warned by a former SEC Chairman about the

 unprecedented loss innocent investors would incur; in, and of itself, speaks volumes regarding

 Clayton and SEC’s motives and actions.

         Maybe XRP is a bad technology or a bad investment. The markets, not the Government,

 should ultimately decide XRP’s fate. Maybe Ripple and it’s the Executives should be held liable

 for their early distributions and suffer disgorgement. Even if XRP was a security and the CEO

 and Co-founder suffer disgorgement, the ecosystem likely runs, adherence and network traffic

 will continue, consensus nodes still run (including the SEC node running on the XRPL). In other

 words, the XRPL continues with or without Ripple. These facts demonstrate that the XRP the

                                                      67
Case 1:21-cv-00001-WES-PAS            Document 1-1         Filed 01/01/21     Page 68 of 69 PageID
                                            #: 96




 Petitioners and all other similarly situated purchased, independent of Ripple, are not securities.

 The U.K. FCA probably classified XRP correctly as a hybrid asset acting as both an exchange

 token and a utility token. Of course, the IMF has classified it as a bridge currency. In Japan, XRP

 is being used as payroll and/or payment currency. Regardless, of what XRP is or what XRP is

 called, or how XRP is used – there one thing for certain – and that is WHAT IT IS NOT!



                                                               Respectfully Submitted,
                                                               By the Petitioners,
                                                               Through their attorney,

                                                              /s/ John E. Deaton
                                                              John Deaton, Esq. (RI Bar # 6537)
                                                              Deaton Law Firm
                                                              450 North Broadway
                                                              East Providence, RI 02914
                                                             (401) 351-6400
                                                             (401) 351-6401(fax)
                                                             All-Deaton@deatonlawfirm.com




                                                      68
Case 1:21-cv-00001-WES-PAS           Document 1-1          Filed 01/01/21     Page 69 of 69 PageID
                                           #: 97




                                     CERTIFICATE OF SERVICE

               I hereby certify that on this 1st day of January, 2021, I electronically filed the
     foregoing documents and that they are available for viewing and downloading from the
     Court’s CM/ECF system. I further certify that a copy of the foregoing documents were
     mailed via U.S. Mail to the Respondents listed below:


 Acting Chairman Elad L. Roisman
 Securities and Exchange Commission
 100 F. Street, NE
 Washington, DC 20549
 (202) 551-2700
 CommissionerRoisman@sec.gov



                                                               /s/ John Deaton
                                                               John Deaton




                                                      69
